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St. Mary’s County
Public Schools




2016-2017 Student Handbook & Code of Conduct

  A Guide for Students and Parents/Legal Guardians




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St. Mary's County Public Schools
Benjamin Banneker ES               Lexington Park ES                    Safety and Security
301-475-0260/0267                  301-863-4085                         Phone: 301-475-5511, ext. 32235
                                                                        Fax: 301-475-4254
Captain Walter Francis Duke ES     Margaret Brent MS
240-309-4658                       301-884-4635                         Special Education
                                                                        Phone: 301-475-5511, ext. 32206
Chesapeake Public Charter School   Mechanicsville ES
                                                                        Fax: 301-475-2469
301-863-9585                       301-472-4800
                                                                        Strategic Planning
Chopticon HS                       Oakville ES
                                                                        Phone: 301-475-5511, ext. 32133
301-475-0215                       301-373-4365
                                                                        Fax: 301-475-4254
Dr. James A. Forrest Career and    Park Hall ES
                                                                        Student Services
  Technology Center                301-863-4054
                                                                        Phone: 301-475-5511, ext. 32150
301-475-0242
                                   Piney Point ES                       Fax: 301-475-2469
Dynard ES                          301-994-2205
                                                                        Superintendent’s Office
301-769-4804
                                   Ridge ES                             Phone: 301-475-5511, ext. 32178
Esperanza MS                       301-872-0200                         Fax: 301-475-4270
301-863-4016
                                   Spring Ridge MS                      Supplemental School Programs
Evergreen ES                       301-863-4031                         Phone: 301-475-5511, ext. 32136
301-863-4060                                                            Fax: 301-475-4229
                                   Town Creek ES
Fairlead Academy I                 301-863-4044
                                                                        Central Office - Loveville
301-863-4090
                                   White Marsh ES                       Assistant Superintendent of
Fairlead Academy II                301-472-4600                             Supporting Services
301-690-2111                                                            Phone: 301-475-4256, option 7
                                   ES - Elementary School
                                                                        Fax: 301-475-0239
George Washington Carver ES        MS - Middle School
301-863-4076                       HS – High School                     Capital Planning and Green
                                                                            Schools
Great Mills HS                     Central Office - Moakley Street      Phone: 301-475-4256, option 6
301-863-4001                       Assessment and Accountability        Fax: 301- 475-4255
Green Holly ES                     Phone: 301-475-5511, ext. 32106
                                   Fax: 301-475-4229                    Design and Construction
301-863-4064
                                                                        Phone: 301- 475-4256, option 3
Greenview Knolls ES                Assistant Superintendent of Fiscal   Fax: 301-475-4255
301-863-4095                         Services and Human Resources
                                   Phone: 301-475-5511, ext. 32247      Food Services
Head Start                         Fax: 301-475-4228                    Phone: 301- 475-4256, option 5
301-690-2441                                                            Fax: 301-475-4207
                                   Curriculum and Instruction
Hollywood ES                       Phone: 301-475-5511, ext. 32149      Maintenance
301-373-4350                       Fax: 301-475-4229                    Phone: 301-475-4256, option 1
                                                                        Fax: 301-475-4255
Leonardtown ES                     Deputy Superintendent of Schools
301-475-0250                       Phone: 301-475-5511, ext. 32178      Operations
                                   Fax: 301-475-4270                    Phone: 301- 475-4256, option 4
Leonardtown HS
                                                                        Fax: 301-475-4255
301-475-0200                       Fiscal Services
                                   Phone: 301-475-5511, ext. 32247      Transportation
Leonardtown MS
                                   Fax: 301-475-4228                    Phone: 301- 475-4256, option 2
301-475-0230
                                                                        Fax: 301-475-4239
Lettie Marshall Dent ES            Human Resources
301-472-4500                       Phone: 301-475-5511, ext. 32194      Information Technology
                                   Fax: 301-475-4201                    Phone: 301-769-4600



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   St. Mary’s County Public Schools’ employees are committed to parental, family, and community
involvement in the educational process. Parents, families, and community members are active partners in
educating children and assume a vital role in ensuring children’s success in school. Maintaining open lines of
communication ensures that the participation of all stakeholders in the education of our children is valued.
   When requesting additional information or clarification with respect to any issue relating to their child’s
educational program, we encourage parents to direct their concerns to the person most closely and directly
involved. To assist with resolving school-based questions, the following contact options are to be used:
              Class work, homework, or grades:       Teacher
              Discipline or bus issues:              Assistant Principal
              Health concerns:                       School Nurse
              Attendance/Absences:                   Records Secretary/High School Registrar
              Schedules/Peer Relationships:          School Counselor
              School Program/Other:                  Principal
   If the school-based concern cannot be resolved with the school-based staff member, then the principal
should be contacted to assist with the resolution of the concern.



                                        School-based School Member
                                                      `

                                                  Principal



   On occasion, it may be necessary to discuss or appeal a school-based decision to central office personnel.
The following contact options are to be used:
     For More Information on Discipline Decisions              Appeals of Other School-Based Decisions
            Director of Student Services                                Accountability Officer
               301-475-5511, ext. 32198                                301-475-5511, ext. 32135

              Superintendent’s Designee                                Superintendent’s Designee
               301-475-5511, ext. 32135                                 301-475-5511, ext. 32135



                                                              To review or seek assistance for school-based
  To appeal decisions of the Section 504 Committee,
                                                                 special education concerns, contact the
     contact the Department of Student Services
                                                                    Department of Special Education
              at 301-475-5511, ext. 32150.
                                                                       at 301-475-5511, ext. 32220.



   It is our goal to provide timely response to all questions at the level closest to where the concern
originated, relative to the educational programs and services that impact the academic and personal success
of our children.




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      COMPULSORY ATTENDANCE AGE                              Parent(s)/legal     guardian(s)  may    request
                                                         information     concerning     early  entrance   to
    St. Mary's County Public Schools' student            kindergarten from the child’s home school or the
attendance policy is based on the overriding             Coordinating Supervisor Early Childhood Programs
premise that success is dependent upon continuous        at 301-475-5511, ext. 32115.
and consistent classroom instructional experience.
Students need opportunities to master essential          Admission to First Grade
academic knowledge and skills, to develop an                  Children admitted to the first grade in the public
appropriate sense of self-worth, to establish            schools shall be at least six years old on or before
satisfactory peer relationships, and to develop a        September 1 of the school year in which they apply
sense of responsibility.                                 for entrance. Parent(s)/legal guardian(s) may
                                                         request information concerning early entrance to
   The school cannot educate students or provide         first grade from the child’s home school or the
support and assistance to students when they are         Coordinating Supervisor Early Childhood Programs
absent.                                                  at 301-475-5511, ext. 32115.

   The school stands in loco parentis during school                   SCHOOL ADMISSIONS
functions and, therefore, must take measures to
ensure the safety and well-being of its students.        Registration Procedures
                                                             All persons age 5 through 20 whose
    Under law, every child who resides in                parent(s)/legal guardian(s) reside within St. Mary's
St. Mary's County and is five (5) years or older and     County may attend public schools without payment
under seventeen (17) shall attend a public school        of tuition.
regularly during the entire school year, unless the
child is elsewhere receiving regular, thorough              A birth certificate or other proof of legal age and
instruction during the school year in the studies        proof of residence are required by the school
usually taught in the public schools to children of      administration upon registration.
the same age. This applies only to students who
turn age sixteen (16) on or after July 1, 2015.              All students entering school for the first time are
                                                         required to have a physical examination, submit a
    Beginning with the 2017-2018 school year,            report from the examining physician, and present
every child who resides in St. Mary’s County and         certification stating that the child has received
is five (5) years old or older and under eighteen        immunizations against communicable diseases as
(18) shall attend a public school regularly during       specified by the department of health.
the entire school year. This applies only to
students who turn age seventeen (17) on or after         Registration in Attendance Areas
July 1, 2017.                                                Application for admission to a public school will
                                                         be made by registering at the school which is
Admission to Kindergarten                                located in the attendance area where the applicant
    Children admitted to the kindergarten program        resides.
in the public schools shall be at least five years old
on or before September 1 of the school year in which         Application for admission or transfer by
they apply for entrance.                                 students who reside outside the attendance area will
                                                         be    made     to    the   Director     of  Student
    Early entrance to kindergarten may be                Services/Director of Special Education.
considered for children who will not be five years
old on or before September 1 but will be five years      Minor Students
old by November 1 and who demonstrate                       Minor students must be accompanied by
exceptional ability in reading and mathematics.          parent(s)/legal guardian(s) to register for school.




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McKinney-Vento Homeless Assistance Act                    scheduled for a two hour block of time will be
    St. Mary's County Public Schools does not             counted present for one-half (½) day if the student is
discriminate against homeless students. In                in attendance for one hour.
accordance with the McKinney-Vento Homeless
Assistance Act, when students who are homeless            Lawful Absences
enter a school to register, they are admitted even if         The following reasons are deemed lawful
they do not have appropriate paperwork.                   absences:
                                                             death in the immediate family;
     STUDENT DISMISSAL PRECAUTIONS                           student illness, for which the principal may
                                                              require a physician's certificate;
Permission to Leave School During the School Day             court summons;
    When leaving school early, students are                  hazardous weather conditions;
required to bring a written request from the                 work, if approved or sponsored by the school;
parent(s)/legal guardian(s). A student under the age         observance of a religious holiday;
of 18 must be signed in or out by his/her parent(s)/         state of emergency;
legal guardian(s). A valid photo identification must         suspension;
be presented when signing students out of school.            lack of authorized transportation; and
                                                             other circumstances which, in the judgment of
Early Dismissal                                               the principal or designee, constitute a good and
    Students should not be dismissed early from
                                                              sufficient cause for absence from school.
school for religious instruction classes, music, dance,
gymnastics, or similar classes.                           Excessive Absences
                                                              If a student is absent twenty-five (25) or more
     STUDENT ABSENCES AND EXCUSES                         days, the student will be referred to the Pupil
                                                          Services Team (PST) for consideration of retention
    The parent(s)/legal guardian(s) of a student
                                                          for the following year and/or credit withholding to
must provide the necessary documentation for
                                                          ensure that the student has had an appropriate
absences on the day that the student returns to
                                                          opportunity to learn and master grade level skills
school. If the necessary documentation is not
                                                          and/or course content. Students who are
received by the school within three (3) school days,
                                                          excessively absent from school may be referred to
the absence(s) will be coded unlawful. Appropriate
                                                          the Interagency Committee on School Attendance
documentation of absences should include the
                                                          (ICSA).
child’s name, date(s) of absence, reason for absence,
and parent(s)’/legal guardian(s)’ signature (written      Tardiness
note). The documentation may be provided by                   A student is tardy if absent at the time a given
phone, email, school website portal, or written note.     class and/or half (½) day of attendance begins,
                                                          provided that the student is in attendance before the
Days Absent
                                                          close of that class or half (½) day. All students must
    A student is counted present for a full day if the
                                                          be signed in at the appropriate office when late to
student is in attendance four hours or more of the
                                                          school.
school day. A student is counted present for one-
half (½) day if in attendance for at least two hours of               HEAD START PROGRAM
the school day, but less than four hours. A grade 12
student scheduled for less than a full day is to be           The St. Mary’s County Head Start Program
counted present based on the amount of time               provides services for qualifying three (3) year old
he/she is scheduled. For example, a grade 12              children and their families. A child must be three (3)
student scheduled for a two hour block of time will       years old on or before September 1 of the year in
be counted present for a full day if the student is in    which they apply for entrance. Head Start is a need
attendance for that block of time. If the student is      based program and priority is given to children
absent for that block of time, the student will be        from families with economic challenges.
counted absent for a full day. A grade 12 student


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       PREKINDERGARTEN PROGRAMS                               HOME/HOSPITAL TEACHING &
                                                           CHRONIC HEALTH IMPAIRED PROGRAM
    St. Mary's County Public Schools provides half-
day (½) programs for qualifying four-year-old                Short-term instruction by home teachers is
children. The goal of the prekindergarten program        provided to students who are unable to attend
is to provide initial learning experiences to help       regular classes due to properly diagnosed physical
children develop basic skills and concepts necessary     or emotional health conditions. These services are
for successful school performance. Under state law,      provided in the student's home or at the local library
a child must be four (4) years old on or before          with a responsible adult being present. The duration
September 1 of the year in which they apply for          of services is determined by the authorized
entrance. Prekindergarten is a need based program        prescriber and approved by the coordinator of
and priority is given to children and families with      Home/Hospital Teaching, who assigns home
economic challenges. If vacancies remain after           teachers to students. Home teaching, although
eligible students are placed, the remaining slots may    correlated with the student's planned course of
be filled by children meeting locally determined at-     studies, cannot provide all of the resources and
risk criteria.                                           courses taught at school. It is for short term
                                                         educational assistance. All efforts should be made to
Admission for Prekindergarten                            return    students    to    school.    Parent(s)/legal
    The child is screened to determine eligibility for   guardian(s) may contact the school counselor for
the prekindergarten program at the school which is       information and required forms.
located in the attendance area where the applicant
resides.

Prekindergarten Attendance
    A prekindergarten student is counted present if
the student is in attendance two (2) hours or more of
the school day.




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                  HEALTH CARE                               directions for its administration, the name of the
                                                            physician, and the date of the prescription.
    Parent(s)/legal guardian(s) are responsible for        The parent(s)/legal guardian(s) must submit to
the health care of their children. The health of            the school written notification (form PS 109)
students in St. Mary's County Public Schools is             from the physician of any change in dosage,
viewed as an important factor in the learning               time of administration of medication, or
process. Cooperation among a student's parent(s)/           duration medication is to be given.
legal guardian(s), physician, and school is essential      The parent(s)/legal guardian(s) must give the
to safeguard a student's health and ensure academic         first day's dosage of any new prescription
success.                                                    unless the order is for "in-school" medication
                                                            only.
    In general, the administration of medication to        The parent(s)/legal guardian(s) must pick up
students while they are in school is to be                  unused or discontinued medication at school.
discouraged. Treatment schedules which allow                Medication not collected by the parent(s)/legal
doses of medication to be given at times other than         guardian(s) will be destroyed.
during school hours are preferred and encouraged.
When, in the opinion of the prescribing physician, it   Over-the-Counter Medications
is necessary for the student to be given medication         It is recommended that administration of over-
during school hours, such medication must be            the-counter (OTC) drugs be given in accordance
administered in accordance with the following           with the guidelines for prescription medication.
guidelines.                                             In some instances, administration of OTC
                                                        medication without an order from a physician,
   The parent(s)/legal guardian(s) must obtain a       nurse practitioner, certified midwife, podiatrist,
    written order from the attending physician,         physician’s assistant, or dentist may be requested
    using     the      Parent(s)/Legal   Guardian(s)    by the parent(s)/legal guardian(s). In such a case,
    and Physician/Prescriber Authorization -            only the licensed nurse may approve that the OTC
    Medication Orders (PS 109) form. Each school        medication be given according to the following
    has copies of this form and they are periodically   guidelines.
    mailed to local physicians and dentists. One
    copy is included in this handbook (Appendix 1).         Written parental consent must be obtained and
   The parent(s)/legal guardian(s) must sign the       include the name of the drug, dose to be given, and
    parent(s)/legal guardian(s) consent on the back     route and time to be given. The OTC drug will not
    of the PS 109 form.                                 be given for more than two successive school days
   The parent(s)/legal guardian(s) should bring        or more than two episodes during the school year
    the completed PS 109 form to school, along with     without a physician's order. The parent(s)/legal
    a supply of medication in the original pharmacy     guardian(s) must give the first dose of the drug. The
    container. Medication is not to be transported      OTC drug should be in an original container and
    by students on the bus.                             brought to the school by the parent/legal guardian.
   If a signed parental and physician authorization    Medication may not be transported by students on
    form (PS 109) is not submitted, the school will     the bus. Storing and recording the administration of
    accept:                                             the OTC medication should follow the same
     a verbal order from a physician. Verbal           guidelines as prescription medications.
         orders may only be taken by the school
         nurse (RN or LPN). A written physician's           A student who brings and/or takes medication
         order must follow and written parental         of any type without following the medication
         consent is still required.                     regulation is entirely the responsibility of the
   Each medication must be in the original             parent(s)/legal guardian(s) and student, and not
    pharmacy container clearly labeled with the         that of either the school or the health department.
    child's name, the name of the medicine,




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Communicable Diseases                                        A school nurse is assigned full-time to each
    When school personnel suspect that a student         school. Information on school nursing services may
may have a communicable disease, the school will         be obtained from the supervisor of health services
notify the parent(s)/legal guardian(s) and               at 301-475-5511, ext. 32150.
arrangements will be made to transport the student
home. Medical advice is then to be sought by the         Integrated Pest Management Program
parent(s)/legal guardian(s) to ascertain if the              The Integrated Pest Management (IPM)
student does have a communicable disease.                program employed by St. Mary’s County Public
                                                         Schools is a proactive approach to insect and rodent
   Should a student be diagnosed as having a             control in school facilities. The IPM program
communicable disease, exclusion from school may          includes routine inspections or surveys of all school
be necessary. Before the student is readmitted, a        buildings and grounds to identify conditions
physician's statement may be required.                   conducive to pest invasion, pest population
                                                         monitoring, non-chemical treatments, and when
    Information related to specific communicable         necessary, occasional use of pesticides by personnel
diseases is available in each school health office or    meeting      the    Department      of   Agriculture
from the St. Mary's County Health Department.            requirements. As a first step in pest control, the
                                                         IPM approach employs a number of preventative
Emergency Procedures                                     strategies and alternatives to pesticide application,
    Emergency medical information for students is        such as: employee education, source reduction,
to be supplied by parent(s)/legal guardian(s) each       inspection and identification of potential problem
year. This information is kept on file and is            areas, and improved sanitation. Each approach is
considered confidential. When an accident or illness     monitored and evaluated, and modifications are
occurs at school, standard first aid practice is         made if necessary. Pesticides are used only as a last
followed.                                                resort.
    Decisions about calling physicians, notifying            Maryland Law requires that parent(s)/legal
family members, or sending the student to the            guardian(s) of all elementary school children be
hospital are made immediately. When possible, a          notified prior to any interior pesticide application.
school health services provider (i.e., school nurse or   Parent(s)/legal guardian(s) of elementary school
supervisor of health services) is involved in this       students and staff members employed at an
decision-making process. If it is deemed necessary,      elementary school will receive notification of
the school staff calls 911. The parent(s)/legal          pesticide applications during the school year.
guardian(s) may also request that 911 be called. This
is done immediately. When 911 is called as a result          Parent(s)/legal guardian(s) of middle and high
of injury or illness, that person becomes the            school students and staff members employed at
responsibility of the rescue services personnel upon     middle and high schools must submit a written
their arrival at the scene. Usual rescue services        request to the school to receive notification of
procedure is to transport the person to the nearest      pesticide applications during the school year.
or most appropriate hospital.                            Notification will be provided by the school at least
                                                         24 hours prior to a pesticide application unless the
    As part of this process, the staff person:           application is an emergency. In the case of an
   notifies school administration and                   emergency application, notification will be
   notifies the parent(s)/legal guardian(s) or other    provided within 24 hours after the application.
    designated guardian/adult. If the parent(s)/
    legal guardian(s) or other designated adult
    cannot be reached, the person needing care is
    sent to the hospital, and the parent(s)/legal
    guardian(s) are reached as soon as possible.




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    A list of the pesticides and bait stations, by       evidence of immunization in accordance with the
common name, that may be used in school                  Maryland Department of Health and Mental
buildings during the school year are as follows:         Hygiene Minimum Vaccine Requirements for
    abamectin                fipronil                    Children Enrolled in Preschool Programs and in
    allethrin                hydramethylnon              Schools.
    bifenthrin               orthoboric acid
    boric acid               piperonyl butoxide              Students     with      less   than     complete
    bromadiolone             pyrethrin                   immunizations must provide an appointment date
    chlorfenapy              silica gel                  for the needed immunizations to start school. The
    cyfluthrin               sulfuramid                  appointment must be no later than 20 calendar days
    deltamethrin             sulfonamide                 from the date of entrance. Military children have 30
    diphacinone                                          calendar days from the date of entrance to obtain
                                                         any immunization(s) required for school entry. This
    Copies of Safety Data Sheets (SDS) and product       appointment date will serve as the exclusion date if
labels for each pesticide and bait station used on       the student fails to keep the appointment.
school property are maintained by the contact            Exemption from immunization is permitted if it is
person. There may be occasions when a pesticide          contrary to a student's religious beliefs. Students
product that is not listed is used on school property.   may also be exempted from immunization
In the event that this occurs, a SDS sheet will be       requirements if a physician certifies that it would
provided to the school administrator. Parent(s)/         create a medical problem. Questions concerning the
legal guardian(s) will be notified of the application    immunization requirement should be addressed to
as stated in the notification procedure outlined.        the school nurse or principal.
Persons wishing to review this information should
contact the Operations Foreman in the Department         Lead Testing
of Operations, Division of Supporting Services,              In accordance with laws of the state of
27190 Point Lookout Road, Loveville, MD, 20656,          Maryland, all students entering prekindergarten,
301-475-4256, option 4.                                  kindergarten, and first grade shall provide evidence
                                                         of lead testing dates or the parent(s)/legal
Hearing and Vision Screening                             guardian(s) must certify that the child does not and
    Unless evidence is presented that a student has      has never lived in an at-risk area in accordance with
been tested within the past year, vision and hearing     the Maryland Department of Health and Mental
screening required by Maryland law will be               Hygiene. At-risk areas by the Zip Code are listed on
completed in the year that a student enters the          the back of the DHMH 4620 form. Evidence of the
school system and in grades one and eight.               dates of lead testing or a parent(s)/legal guardian(s)
Parent(s)/legal guardian(s) and/or school staff          signature on the DHMH 4620 form certifying that
concerned about a student’s hearing or vision may        the child does not and has never lived in an at-risk
also refer the student for screening by the school       area must be returned to the school within 20
nurse.                                                   calendar days from the date of entrance to
                                                         prekindergarten, kindergarten, or first grade.
    A student whose parent(s)/legal guardian(s)
objects in writing to hearing and vision screening       Physical Examination
on the basis of the tenets and practice of a                 In order for your child to enter a Maryland
recognized church or religious denomination of           public school for the first time, a physical
which the student is an adherent or member may           examination by a physician or certified nurse
not be required to take these screenings.                practitioner must be completed either nine months
                                                         prior to entering the public school system or six
Immunization                                             months after entering the system. A physical
    In accordance with laws of the state of              examination form designated by the Maryland State
Maryland, any student entering or attending              Department of Education and the Department of
St. Mary's County Public Schools shall provide           Health and Mental Hygiene must be used to meet



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this requirement. Exemption from a physical                Allergies
examination is permitted if it is contrary to a                Severe allergies are increasingly being identified
student's religious beliefs.                               in our student population. Some examples of
                                                           allergens may include: food, insects, and
    School entry physical examination reports are          medications. Parent(s)/legal guardian(s) are
reviewed and a nursing assessment is completed by          responsible for informing the school nurse about
the school nurse, together with the parent(s)/legal        their child’s allergies, as well as providing written
guardian(s), for all students with diagnosed health        medical      documentation,       instructions,   and
problems which may impact learning.                        medications, if needed, as directed by a physician.
                                                           Parent(s)/legal guardian(s) are also responsible for
Sun Safety                                                 providing the school with emergency telephone
    Sun safety practices that are followed                 number(s). Should this information change,
consistently and early in life contribute to the           parent(s)/legal guardian(s) should notify the school
prevention of skin cancer. Facilitating sun safety         immediately. Parent(s)/legal guardian(s) should
habits in the school setting can assist students and       record any allergies or medical information on the
staff in reducing potential risk for ultraviolet-          student registration form and the Student Health
related illnesses. Sun safety practices include the        Information form (Appendix 2). To ensure a safe
following:                                                 environment for students with allergies and reduce
 Since sunscreen is not considered a medication,          the risk of accidental exposure in the school setting,
    students may carry sunscreen and apply it              school personnel should work with students,
    according to manufacturer’s directions.                parent(s)/legal guardian(s), and physicians to
 Application of sunscreen with a SPF of 15 or             develop a plan that accommodates the child’s
    higher is recommended 30 minutes before                needs. An emergency action medical plan should be
    outdoor activities, field trips, field days, and/or    developed to minimize risk and provide a safe
    environmental service-learning trips, etc.             educational environment for students with severe
 Sunscreen should be reapplied according to the           allergic reactions.
    manufacturer’s directions.
 Student        or   parent(s)’/legal      guardian(s)’   Anaphylaxis
    application of sunscreen at home prior to                  Students with known or unknown allergies may
    arriving at school is recommended when                 experience life-threatening allergic reactions known
    outdoor activities are planned for the morning.        as anaphylaxis. Anaphylaxis is a life-threatening,
 Schools or individual teachers may not supply            acute systemic type of allergic reaction. This
    sunscreen for students.                                reaction can be sudden and severe. An epinephrine
 Students can only apply sunscreen provided by            injection is the treatment for anaphylaxis. It is a
    the parent(s)/legal guardian(s).                       quick acting medication that is administered intra-
 Wide brimmed hats and sunglasses may be                  muscularly. This medication will be available in
    used outdoors to reduce sun exposure to the            each St. Mary’s County Public Schools. School
    eyes, face, head, ears, and neck.                      nurses or their trained designees will administer the
                                                           medication if needed for any student who has signs
Student Health Information                                 or symptoms of anaphylaxis. Anyone receiving
     Parent(s)/legal guardian(s) are responsible for       epinephrine must be transported by rescue services
informing the school about their child's                   personnel to the nearest hospital for further
educationally relevant health history, including, but      emergency treatment.
not limited to, such health concerns as chronic
illness, allergy, and physical disability. Health          Student Illness
information may be shared with school staff who                  In the event of student illness during the school
have a need to know. The Student Health                    day, every effort will be made to contact parent(s)/
Information form (Appendix 2) may be completed             legal guardian(s). If the parent(s)/legal guardian(s)
and returned to the school for this purpose, or the        or designee cannot be reached, the school reserves
form may be picked up at the school office.                the right to act in the best interest of the student,
                                                           i.e., call 911.


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Student Pregnancy                                        Student Risk Behaviors
    When information indicating the possibility that         St. Mary’s County Public Schools, through
a student is pregnant is brought to the attention of a   community partnerships and collaboration,
member of the school staff, the student is referred to   provides education and prevention programs that
the school nurse and is counseled to see a physician.    directly address high-risk youth behaviors. These
In the event that the student is pregnant, she should    behaviors are defined as any behavior having a
be made aware of a variety of resources and              negative impact on the development, health, and
alternatives available to her. A student who is          well-being of students. Prevention programs
pregnant, either married or unmarried, who has not       include focus on bullying prevention, substance
completed her high school education may elect to         misuse, cyber safety, young driver safety, teen
remain in the regular school program.                    dating violence, and underage drinking. For more
                                                         information about these and other prevention
Medical Procedures                                       programs and additional resources please visit
   All    medical      procedures    administered        http://www.smcps.org/safety-and-security.
at school require completion of the Parent(s)/
Legal Guardian(s) and Physician/Prescriber                   Students who engage in any type of school
Authorization - Medical Procedures (PS 110) form.        practice or activity after dismissal time should have
The form is available from the school nurse or the       written permission from home. The school will not
Department of Student Services.                          assume responsibility for students following the
                                                         conclusion of such practice or activity.
    Examples of medical procedures are:
• catheterization,        • glucose blood testing,       Student Crime Solvers
• gastric tube feedings,    and                              Student Crime Solvers is a community
• tracheostomy care,      • oxygen therapy.              partnership between the St. Mary’s County Crime
• suctioning,                                            Solvers, St. Mary’s County Sheriff’s Office, and St.
                                                         Mary’s County Public Schools to ensure safe and
   These procedures should be administered and           secure schools. This partnership was formed to
documented under the direction of a school nurse.        maintain strong lines of communication between
                                                         students and school administrators to address
                STUDENT SAFETY                           occurrences of crime and discipline infractions
                                                         within our high schools.
    The SMCPS system believes that one of
our greatest responsibilities is to provide for              Students are able to anonymously report
the safety and security of our students,                 information or concerns using the Student Crime
staff, and visitors. A safe and orderly environment      Solvers’ Program Tip Sheets. These Tip Sheets may
ensures      the      greatest   opportunity    for      be picked up from any school staff member or at
student learning. Open communication, strong             other designated locations within the school. The
community partnerships, progressive policies             student then completes the sheet and returns it to
and procedures, and proactive action by staff            the tip box. The student NEVER GIVES THEIR
enhance school safety and security. Additional           NAME. The tip sheets are then reviewed by a
information is available on the SMCPS website            school administrator and the school resource
www.smcps.org/offices/dss/safety-security.               officer. If the information leads to the closure of a
                                                         crime or discipline infraction, the reporting student
Supervision
                                                         may be able to collect a reward.
    Students in school, at school-sponsored
activities, or traveling to and from school on school        If you need more information about Student
buses are responsible to the school, and the school is   Crime Solvers, please contact a school administrator
responsible for them. School personnel assigned to       or our school resource officer.
their supervision serve in loco parentis.




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Suspected Child Abuse/Neglect                                        o   Fire Drills
     Occasionally, there are factors in a student's                  o   Evacuation, Reverse Evacuation,
appearance and behavior that lead to suspicions of                       Silent Evacuation Drills
child abuse or neglect. Maryland law requires that                   o   Shelter-in-Place Drill
all educators and other school employees, including                  o   Lockdown, Modified Lockdown
volunteers and bus drivers, report suspected abuse                       (Lockout) Drills
or neglect to the proper authorities for investigation               o   Severe Weather Drill
in order that students may be protected from harm                    o   Drop, Cover, and Hold Drill
and the family may be helped.                                            (Earthquake)

Custody                                                      Throughout the school year, drills are
    Parent(s)/legal guardian(s) must provide copies      conducted to familiarize students with response
of court orders, protective orders, notarized            actions and exiting routes out of the school. All
statements, or other legally binding instruments to      drills are conducted under the supervision of the
the schools their children attend. These documents       principal or assistant principal and the school staff.
will be maintained in the student's cumulative           Students are instructed in the safety procedures to
record. Should there be a circumstance in which          be following during the drills or other emergency
parent(s)/legal guardian(s) are prohibited by court      situations.      Parent(s)/legal guardian(s) are
order from having contact with a student, school         encouraged to remind their children of the
personnel must have a copy of the court order or         seriousness of these activities. Site administrators
other legally binding instrument on file. Students       are required to document all drills.
will only be released to those who can be identified
as having proper authorization to take custody of        Asbestos Management Plans
the student.                                                 In October 1986, the United States Congress
                                                         enacted the Asbestos Hazard Emergency Response
School Emergency Preparedness                            Act (AHERA). Under this law, comprehensive
    St. Mary’s County Public Schools continually         regulations were developed to address the presence
plans and prepares for events that would                 of asbestos in public and private elementary and
necessitate an emergency response. All emergency         secondary schools. These regulations require all
preparedness and planning is fully coordinated           schools to inspect for friable and non-friable
through active participation in a number of local        asbestos, develop asbestos management plans that
jurisdictional emergency planning and response           address asbestos hazards in school buildings, and
groups. Preparedness activities maintained by            implement response actions in a timely manner.
SMCPS include:
                                                             The EPA requires the school system to have an
       Annual publication of the School Crisis and      accredited inspector perform re-inspections of the
        Emergency Response Plan and supporting           asbestos material every three years. An accredited
        reference guide, ensuring compliance with        AHERA Inspection/Management Planner will
        the Code of Maryland Regulations                 perform the re-inspections and continue to make
        (COMAR) 13A.02.02.01-04                          recommendations for the safe management of
                                                         asbestos materials in all buildings and relocatables.
       Participation in legally mandated school-        The school system will be performing semi-annual
        based emergency drills and jurisdictional        surveillance inspections.
        emergency exercises, ensuring compliance
        with COMAR 13A.02.02. The following                  The     program     for   fulfilling   AHERA
        drills are required by law:                      responsibilities is outlined in the asbestos
                                                         management plan for each school or facility. This
                                                         plan is available for review at each school site and




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contains        information       on        inspections,   Delayed Openings
re-inspections, response actions, and post-response            In the event that the opening of schools is
action activities, including periodic surveillance         delayed two hours to permit buses to run their
activities that are planned or that are in progress.       routes under safer conditions, the following will
                                                           apply:
    The    asbestos    management      plan    can          All buses will run their routes two hours later
be reviewed at the school or at the Division                   than their usual times.
of Supporting Services, 27190 Point Lookout Road,           Dismissal in each school will follow the regular
Loveville, Maryland, during normal working hours.              schedule.
For more information, please contact the                    Lunch will be served in each school, unless not
Department of Operations at 301-475-4256, option 4.            feasible by the time of dismissal.
                                                            If there is a two-hour delayed opening, morning
Inclement Weather                                              (AM) Prekindergarten, morning (AM) Head
    When inclement weather may cause the schools               Start, and the first session at the Dr. James A.
to delay the regular opening time or close for the             Forrest Career and Technology Center (Forrest
day, the information will be posted on the                     Center), will be canceled, unless otherwise
St. Mary’s County Public Schools website and social            announced.
media, and a system-based “phone out” will be
made to all student households.           Radio and        Emergency Early Dismissal
television stations will be notified before 6:00 a.m.          If conditions exist which cause a decision for
so that notices may be broadcast as early as               early dismissal due to inclement weather or extreme
possible.                                                  heat and humidity, radio and television stations
                                                           will be notified as early as possible so that
    When school is unexpectedly dismissed early,           parent(s)/legal    guardian(s)     are    informed.
the school cannot call parent(s)/legal guardian(s).        Information will be posted on the St. Mary’s County
Please discuss this important matter with your             Public Schools website and social media, and a
child.    The school will assume an early bus              system-based “phone out” will be made to all
dismissal schedule. Information will be posted on          student households. Radio and television stations
the St. Mary’s County Public Schools website and           will be notified.
social media, and a system-based “phone out” will
be made to all student households. Radio and                   Early dismissal will be decided by the
television stations will be notified.                      Superintendent of Schools. Radio and television
                                                           stations will carry the announcement whenever
   The following         stations   will   carry    the    possible.
announcements:                                              Buses will run their afternoon routes in the
RADIO STATIONS -                                               same order as on the regular school day.
WMAL AM 630         WMDM FM 97.7       WGRX FM 104.5        All afternoon and evening meetings and
WBAL AM 1090        WSMD FM 98.3       WMAL FM 105.9           activities are automatically canceled. Any
WPTX AM 1690        WOLC FM 102.5      WRQX FM 107.3           exceptions to this rule must be approved by the
WTGB FM 94.7        WKIK FM 102.9      WTOP FM 107.7           Superintendent of Schools.
WPGC FM 95.5        WTOP FM 103.5                           All afternoon (PM) prekindergarten classes,
WGRQ FM 95.9        WTOP FM 103. 9                             afternoon (PM) Head Start classes, and third
                                                               session Forrest Center classes are canceled.
TELEVISION STATIONS -
                                                            All morning (AM) prekindergarten and
WRC TV - Channel 4
                                                               morning (AM) Head Start students will be
WTTG TV - Channel 5
WJLA TV - Channel 7                                            dismissed at 11:00 a.m. or as close to that time
WUSA TV - Channel 9                                            as possible.
Educational TV Ch. 96 (in St. Mary’s County)




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             THE COORDINATED
          PUPIL SERVICES PROGRAM                             In all St. Mary’s County Public Schools, students
                                                         with disabilities have access to all aspects of academic
    The Coordinated Pupil Services Program within        and extra-curricular programming. Specialized
each school is one component of an overall school        programs are provided for students with emotional
program. Each student services area uses a               disturbances, infants and toddlers, preschool students,
systematic and integrated program to deliver             and students who require a functional life skills
individual and collaborative strategies with the goal    curriculum. Special education programs are
of assisting students to achieve academic, health,       continuously evaluated to ensure that they are
career, personal, and interpersonal competencies.        meeting the needs of our ever-changing student
                                                         population. St. Mary’s County Public Schools
    Each Pupil Services Team may include a school        is committed to providing all students an education
administrator, school nurse, school counselor, pupil     that prepares them academically, socially, and
personnel worker, school psychologist, and other         emotionally for adult life. If you have any questions,
appropriate staff. This school team meets at regular     information is available on the SMCPS’ website
intervals and analyzes data to plan, implement, and      www.smcps.org/offices/se or you may contact the
evaluate how its members can most effectively meet       Department of Special Education at 301-475-5511, ext.
student and school needs.                                32206.

           SECTION 504 OF THE                               The Department of Special Education also offers
        REHABILITATION ACT OF 1973                       families and school staff support through the
                                                         “Partners for Success Resource Center for Families
     School systems are required to ensure that no       and Schools.” The following services may be included:
qualified person with disabilities shall, on the basis    special education resources;
of disability, be excluded from participation in, be      information and referral;
denied the benefits of, or otherwise be subjected to      assistance with the Individualized Education
discrimination under any program or activity which          Programs (IEPs);
receives or benefits from federal financial               seminars and workshops;
assistance. Should you have questions about Section       consultation;
504 of the Rehabilitation Act of 1973, please contact     lending library; and
the Department of Student Services at 301-475-5511,       information about local, state, and national parent
ext. 32150.                                                 organizations.

       SPECIAL EDUCATION SERVICES                            The center is staffed by a parent of a child
                                                         with a disability. Contact the Partners for
     Special education services are available at every
                                                         Success resource specialist at 301-863-4069 or
school in St. Mary’s County. To ensure that every
                                                         partnersforsuccess@smcps.com.
child has access to the general education curriculum
and every child’s educational program is                                       TITLE IX
implemented in the least restrictive environment, St.
Mary’s County Public Schools offers a range of           What is Title IX?
general and special education services in a continuum        Title IX of the Education Amendments of 1972
of educational placements. To the maximum extent         prohibits sex-based discrimination in all activities
appropriate, students receive instruction in the         and programs of educational institutions receiving
general education classroom with the necessary           federal funds, which includes St. Mary’s County
accommodations and adaptations provided under the        Public Schools. Prohibited sex-based discrimination
direction of the special education staff. This           includes     pregnancy,    discrimination,   sexual
integration into the general education classroom         harassment, and sexual assault. (Title IX of the
allows for maximum interaction among students and        Education Amendments of 1972 20 U.S.C. § 1681)
staff and encourages students to learn from each
other.


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Four Things to Know About Title IX                         St. Mary’s County Public Schools does not
 Requires that males and females be given equal       tolerate any form of harassment including, but not
   opportunities in career and technical education     limited to, sexual, racial, or disability. Any student
   programs - particularly in traditionally male-      or employee who believes that he or she has been
   dominated fields.                                   subjected to any form of harassment is encouraged
 Requires that pregnant and parenting students        to report the allegation of harassment.
   have equal access to schools and activities, that
   all separate program are completely voluntary,          Students, parent(s)/legal guardian(s), staff
   and that schools excuse absences due to             members, and community members may report
   pregnancy or childbirth for as long as it is        allegations of harassment to the appropriate school
   deemed medically necessary.                         Title IX designee. The decision of the school Title IX
 Considers sexual harassment as a form of sexual      designee may be appealed to the school system’s
   discrimination in schools and is prohibited.        Title IX Coordinator at 301-475-5511, ext. 32150.
 Grants protection for survivors of sexual            The Supervisor of School Counseling has the
   assault.                                            responsibility for Title IX in St. Mary’s County.




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         TYPES OF STUDENT RECORDS                        guardian(s) has opted out of providing such
                                                         information by completing the Parental “Opt Out”
     All students have school records. The               Form (Appendix 3) and returning it to school.
information in the record is needed and used by
school staff, parent(s)/legal guardian(s), and the          If parent(s)/legal guardian(s) do not want any
students themselves to plan educational and career       or all of this directory information released, the
programs. The total school record is called the          parent(s)/legal guardian(s) should make this
cumulative folder, but different parts of the            request in writing to the school (Appendix 3).
cumulative folder may be kept in different places
(i.e., health information, special education record).               USE OF STUDENTS IN
                                                              PUBLIC INFORMATION PROGRAMS
   RIGHTS TO ACCESS STUDENT RECORD
             INFORMATION                                     As part of our overall educational program,
                                                         students are occasionally asked to be photographed
    All student records are maintained according to      or videotaped or have their work displayed. Unless
the standards as set forth by the Family Education       indicated to the contrary, the school will assume
Rights and Privacy Act (FERPA) (Appendix 6). By          that your child may be photographed or videotaped
law, parent(s)/legal guardian(s) have the right to       by the news media or by St. Mary’s County Public
examine their child's records within established         Schools’ staff, and also that the student’s likeness,
procedures. Parent(s)/legal guardian(s) should           name, performance, artwork, or written work
contact the school to make arrangements to review        may be used in print or broadcast media and/or
the records. Non-custodial parents have the same         on the Internet. It is the responsibility of the
rights to review records as do custodial parents         parent(s)/legal guardian(s) to complete the Parental
unless there is a court order in the files that          “Opt Out” Form (Appendix 3) and return it to
prohibits this. Students 18 years of age or older        school.
may review their own records. Should copies of
these records be desired, a fee of 25¢ per page will         St. Mary’s County Public Schools cannot control
be assessed.                                             photography, taping, or interviews of students at
                                                         events that are open to the public, nor decisions by
    Release of all information to agencies, other        the news media to post school news on the Internet.
than directory information, requires written
parental permission.                                                RETENTION OF RECORDS

    Parent(s)/legal guardian(s) who do not want              Parts of the cumulative records are permanently
their student to participate in certain surveys as       retained because of the need to retrieve data for
defined in Appendix 6 may opt their student out of       individuals who at some time have been enrolled in
participation.                                           the county schools.        These include records
                                                         containing information concerning grades, courses
          DIRECTORY INFORMATION                          taken, and diploma status. The rest of the
                                                         cumulative file is destroyed when the student
    "Directory information" includes the following       reaches his/her twenty-first birthday. Federal law
information relating to a student: the student's         requires five years of special education record
legal name, the most recent previous local school        maintenance after completion or withdrawal from
system or educational institution attended, and          school.
grade. Parent(s)/legal guardian(s) may seek to
correct information that is believed to be inaccurate.

    The school system and custodian of records,
upon request of the military, must provide
students’ names, addresses, and telephone listings
to military recruiters, unless the parent(s)/legal



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                STUDENT RIGHTS                           a decision of a school staff member to the principal
                                                         or the principal’s decision to the designated director.
    A major goal of school systems in the United         The director’s decision may be appealed to
States is to prepare students for active, responsible    the Deputy Superintendent. The decision of the
participation in a democratic society. To develop        Deputy Superintendent may be appealed to the
an understanding and appreciation of our                 Superintendent of Schools, and the decision of the
representative form of government, students need to      Superintendent of Schools/designee may be
participate in decision making, exercise their rights    appealed to the Board of Education of St. Mary’s
and responsibilities as individuals, and educate         County. Any decision of the Board of Education of
themselves in the democratic process.                    St. Mary’s County may be appealed to the Maryland
                                                         State Board of Education.
    Students pursuing their rights must accept the
associated responsibility of respecting the rights of    Personal Safety
others and of respecting legally constituted                 Students should be able to enjoy a school
authority.                                               environment free from all forms of discrimination,
                                                         including bullying, harassment, and sexual
Assemble                                                 harassment.
    Students have the right to assemble peacefully
during non-instructional time provided that the          Petition
gathering does not impede or disrupt the operation            Students have the right to present petitions
of the schools or the rights of others. Conducting       setting forth grievances as long as they are free from
and/or participating in demonstrations that              obscenities and defamatory statements. Students
interfere with the operations of the school or           need to use the channels provided for this purpose
classroom or the basic rights of others is               in each school. The collecting of signatures on
inappropriate and prohibited.                            petitions is not to disrupt classroom procedures;
                                                         interfere with the educational process; or be
    All students meeting in school buildings or on       obtained through threat, coercion, or physical force.
school grounds may do so only as a part of the
formal educational process or as cooperatively               Students will not be subjected to disciplinary
established and approved by the principal of the         measures for properly initiating or signing a
school.                                                  petition, nor will they be subject to any kind of overt
                                                         or covert reprisal, harassment, or otherwise
   Strikes or boycotts of classes are not allowed.       unwarranted response.
Due Process                                              Religion
     Prior to the removal of any protected property          Students have the right to observe their own
or liberty interest, such as a suspension from school,   religious beliefs and practices in school as long as
students have the right to due process as follows:       they do not violate the rights of others or interfere
   the student must be given notice of the conduct      with school activities.
     which is required or prohibited;
   the student must be given notice of the specific         School-sponsored religious exercises may not be
     allegations of misconduct;                          conducted. Schools will not advocate any religious
   the student must be given some opportunity to        beliefs. No school-sponsored activity or class will be
     respond to the allegations of misconduct; and       religious in nature. Holiday concerts may include
   the decision-making authority (e.g., the             religious music within St. Mary’s County Public
     principal) will make a decision based upon the      Schools’ guidelines. Courses may include
     evidence available to the decision maker.           information about different religions, religious
                                                         practices and beliefs, and religious leaders if no
    A basic element of due process is that one who       religious viewpoints are advocated.
is not satisfied with the decision may appeal it to a
higher authority. Thus, a student may appeal


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   Distribution of religious material follows the         otherwise violating the law, the educator must
guidelines outlined in Board Policy KHBA.                 observe the existing laws and enforce school policy.
                                                          Once observed and reported to the school
Students Involved with the Department of                  administrator, established procedures will be
Juvenile Services.                                        implemented. Each case must be handled on its
    Students enrolled in the St. Mary's County            own merits and as determined by its own
Public Schools who, as a result of negative behavior      circumstances, within school system policy.
in the community, are temporarily placed in a
Juvenile Services funded or operated detention                     STUDENT RESPONSIBILITIES
facility, or who are committed to a facility by the
court, have the right to continue their education             Students have a responsibility to put forth their
with as little disruption in program continuity as        best efforts during the educational process.
possible.
                                                              Students have the responsibility to respect the
Students Seeking Help                                     rights of other students and all persons involved in
    The Board of Education of St. Mary’s County           the educational process.
believes that directing students to appropriate
service agencies must be an integral part of                  Students have the responsibility not to harass or
a comprehensive service system. Students who              create a hostile environment on the basis of race,
seek counsel and assistance for substance abuse,          color, gender, national origin, religion, marital
sexually transmitted diseases, AIDS, pregnancy,           status, sexual orientation, or disability.
contraception, abortions, and mental/emotional
disorders will be directed to appropriate agencies.          Students have the responsibility to attend school
Students who seek information from a teacher,             regularly and to observe school rules essential for
counselor, principal, or other professional educator      permitting others to learn at school.
to overcome any form of drug abuse are protected
                                                          Responsibility for Student Conduct
by Maryland Public School law Section 7-412. Any
                                                             Positive student conduct is essential to the total
statement, written or oral, made by a student is not
                                                          school program. Without it, students cannot realize
admissible against the student in any school
                                                          opportunities for academic growth, and the school
disciplinary proceeding.
                                                          cannot discharge its responsibility in the educational
Students Who Do Not Seek Help                             process.
    Those students who abuse or possess alcohol or
                                                             It is expected that students will do their best to
drugs, or otherwise violate the law, and do not
                                                          conduct themselves according to the rules of the
voluntarily seek help, in essence, forfeit their rights
                                                          school.
to the protection of Education Article 7-412. They
are subject to the school policy and practice.               We ask parent(s)/legal guardian(s) to reinforce
                                                          the need for children to conduct themselves in
    School staff must promptly report to a school
                                                          appropriate ways when at school.
administrator all delinquent acts that come to their
attention - whether occurring on or away from the             Good behavior is maintained through
school premises - which involve students in the           positive measures which are fair and consistent.
school system. The school administrator must then         Conferences involving school personnel, parent(s)/
promptly report all such acts to the responsible law      legal guardian(s), and students are frequently held
enforcement agencies.                                     when problems arise. County policy regulates the
                                                          actions which are to be followed in specific instances
   School officials cannot ignore illegal substance       of major infractions.
abuse or other illegal activities. If a teacher,
counselor, or principal finds a student bringing drug
equipment to school, using or carrying drugs, or



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Student Responsibility in Decision Making                 STUDENT RULES FOR TRANSPORTATION
    As appropriate to the age of students, school
government organizations, such as student councils,         The safety of students during              their
may be formed to offer practice in self-government      transportation to and from school is a responsibility
and to serve as channels for the expression of          which      students   and    their   parent(s)/legal
student ideas and opinions to the Board of              guardian(s) share with bus drivers and school
Education and school administration.                    officials.

    Each student has the responsibility and the right      The bus driver has the responsibility of
to participate in student government organizations.     maintaining orderly behavior of students on school
                                                        buses and will report misconduct to the appropriate
    One student, selected by the St. Mary’s             school official.
Associations of Student Councils, sits on the Board
of Education as a non-voting member.                        State law prohibits unauthorized persons from
                                                        coming aboard school buses. Bus drivers are
Student Responsibility for Dress                        not permitted to engage in discussions with
    There is a close relationship between student       non-passengers at bus stops. Parent(s)/legal
dress and student behavior and, accordingly, proper     guardian(s) are requested to contact the school their
dress is important to setting the pattern of school     child attends to discuss any concerns that they may
and social conduct.                                     have with bus transportation.
    While student dress and grooming are primarily          St. Mary’s County Public Schools’ buses do not
the responsibility of students and their parent(s)/     discharge or admit students at places of business
legal guardian(s), the Superintendent of Schools        other than licensed day care centers.
shall direct staff to develop appropriate guidelines
for a student dress code. The St. Mary's County             St. Mary’s County Public Schools will transport
Public Schools’ Student Dress Code may be found in      only those students assigned to a bus unless an
Appendix 4.                                             emergency exists. Day-by-day, special bus requests
                                                        will be handled by the school administration on an
    Dress or grooming which is likely to cause the      individual basis, with discretion. The school
disruption of the instructional program or which        administrator must complete a “Temporary Bus
creates a potential safety hazard is prohibited.        Pass,” and give the white copy to the bus driver.
Student Responsibility for School Property                  Bus stops are set by the Department
   Each student has a responsibility to                 of Transportation in accordance with safe
appropriately care for school property. Students will   practices, Maryland law, COMAR, Board policy,
be assessed for any lost, damaged, or vandalized        St. Mary's County Public Schools’ regulations, and
school property.                                        Department of Transportation procedures. The
                                                        location of all authorized school bus stops will be
Student Bicycle Use
                                                        available online at http://www.smcps.org/dss/
   Bicycles are not permitted to be ridden or stored
                                                        transportation/bus-stop-and-school-locator prior to
on a school campus without the approval of the
                                                        the start of the school year. These are the only
school administrator.
                                                        locations that St. Mary's County Public Schools
Student Solicitations                                   buses will stop. School bus drivers, school bus
    The solicitation of funds in the schools by         contactors, and school staff members cannot add,
outside groups for any cause is discouraged. Such       delete, or change the location of school bus stops.
solicitation will require the approval of the school    All requests to add, delete, or change the location of
administration.                                         school bus stops should be directed to the
                                                        Department of Transportation.




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    A “Temporary Bus Pass” is required for new              Students will cooperate in keeping the bus clean.
students or whenever students will be getting off at         Any malicious or willful damage to a school bus
a stop other than their own, even if they are riding         will result in the immediate withdrawal of
their assigned bus. Students with bus passes will            transportation privileges of the student or
only be dropped off at published bus stops.                  students involved. Transportation privileges may
                                                             be withheld until the cost of repairing the damage
    The bus driver is in charge of the bus at all            has been satisfactorily settled.
times. If a teacher is on the bus, the teacher is in        Students may not transport anything on the bus
charge of student behavior. Students violating the           without the permission of the driver, with the
rules stated below will be reported to school                exception of their books or other school supplies.
officials. Transportation privileges may be                  Students may transport musical instruments as
withdrawn from violators.                                    long as they are no larger than that which a
                                                             student can hold on his/her lap or place at
 Students will be permitted to ride only the bus to         his/her feet. The instrument may not protrude
  which they are assigned and which serves the area          into the aisle or occupy the seat space of another
  in which they live. St. Mary's County Public               passenger. Other items, such as classroom
  Schools will transport only those students                 projects, may be transported so long as the
  assigned to a bus unless approval is received from         container size meets the same guidelines for
  the site administrator/designee. Requests from             storage as musical instruments. Glass containers
  students and/or their parent(s)/legal guardian(s)          and animals, including birds and insects, may not
  for the student to ride other buses will be decided        be transported.
  on an individual basis by the school administrator.       Students may not bring balloons on the bus.
 Students must be on time to meet the bus as it             Balloons impair the driver's vision and should
  arrives at their pick up point. All students must be       they explode, result in distress and distraction to
  at the bus stop five (5) minutes before the assigned       the bus driver and students.
  bus stop time. The bus will not wait for students,        Students may not possess or use tobacco,
  as this delays pick up times at other stops.               electronic cigarettes, narcotics, or intoxicating
 All students must wait off the roadway and                 beverages on the school bus.
  approach the actual boarding location only after          Students may not consume soft drinks or food on
  the bus stops with its red lights flashing. If the bus     the school bus.
  stop does not require the use of flashing lights,         Students must sit in their assigned seats. Any
  wait until the bus stops completely before                 damage to a student's assigned seat during the
  boarding the bus.                                          trip will be the responsibility of that student.
 Students must not attempt to board or to                   Students may not move from one seat to another
  disembark from the bus while it is in motion.              while the bus is in motion.
 Students must not extend their hands, arms, or            Students may not use electronic devices, which
  heads out of the bus windows.                              include cell phones and radios, without
 Students may not exhibit any lewd gestures,                permission from the bus driver.
  pictures, or offending material from within the           Students using school bus transportation are
  bus or from the bus windows.                               under the jurisdiction of the school from the time
 Students may not get off the bus on their way to           that they board the bus until they disembark from
  or from school without the permission of the               the bus. When students are in view of the bus
  driver. The driver cannot give such permission             driver, they still can be held accountable by the
  except in case of personal emergency on the part           school for any inappropriate actions. Parent(s)/
  of the student, or upon written request of the             legal guardian(s) are responsible for their
  student's    parent(s)/legal     guardian(s)      with     student(s) while the student(s) is traveling to and
  approval of the school administrator.                      from the bus stop and while the student(s) is
 Students may talk in a normal manner. Loud,                waiting at the bus stop.
  profane, or obscene language will not be
  permitted.



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   STUDENT BUS BOARDING PROCEDURES                                      STUDENT BUS LOADING
                                                                       PROCEDURES AT SCHOOL
 Students crossing a roadway must wait for a
  signal from the bus driver before crossing.                Students should walk in a quiet, orderly manner
 Students should have their belongings before                to their bus loading area.
  leaving home to catch their bus. Students must             Students should wait in an orderly group.
  board their bus at their regularly assigned bus            Students should stay away from the curb or
  stop.                                                       driveway until the bus comes to a full stop and the
 Students must leave home in ample time to catch             driver opens the door. Then they should walk
  the bus.                                                    with caution to get on the bus.
 Students should walk on the side of the road               Students should not push, shove, or wrestle.
  facing traffic to get to their stop if there is no          Horseplay can result in a serious accident.
  sidewalk or path.                                          Students should leave all dropped items where
 Students should look both ways and make sure it             they are and ask an adult for assistance.
  is safe if they must cross the road or street to get to
  their bus stop.                                            STUDENT BUS UNLOADING PROCEDURES
 Students should wait in an orderly line or group,
  out of the way of traffic, until the bus stops and         Students should wait until the bus comes to a
  the driver opens the door.                                  complete stop before getting out of their seat and
 Students should wait until the bus stops before             moving forward to disembark.
  moving forward to board it.                                Students should disembark only at their assigned
 Students should use the grab rail and watch their           bus stop.
  step boarding the bus.                                     Head Start, prekindergarten, and kindergarten
                                                              students will get off the bus first and will be met
      STUDENT ON-BOARD PROCEDURES                             at the door by a responsible person at least 13
                                                              years old. Buses will not wait at the bus stop if
 Students should promptly walk to their seat and             there is not a responsible person at the bus door to
  sit down.                                                   take custody of the prekindergarten and/or
 Students should sit on the bus facing forward.              kindergarten student. In this instance, the student
  Students should keep their legs, feet, books, etc.,         will be returned to the school.
  out of the aisle of the bus. Students should keep          Students should watch their step and hold on to
  their arms, hands, and heads inside the bus.                the grab rail when disembarking the bus.
 Students should talk softly so that the bus driver         Students should move away from the bus, once off
  can hear any warning signals.                               the bus. Students crossing in front of the bus
 Students should avoid unnecessary conversation              should wait for the driver's signal and cross ten
  with the bus driver.                                        feet in front of the bus. If anything is dropped,
 Students should not throw things from the                   students should leave the dropped items and ask
  windows or on the floor of the bus.                         an adult for assistance.
 Students should not call out from the windows.             Students should walk on the sidewalks, paths, or
 Students should know that the EMERGENCY                     off the road after leaving the bus stop.
  DOOR HANDLE is to be used ONLY in an                       Students should walk single file facing traffic if
  EMERGENCY. Students should not touch it at any              they must walk along the roadside.
  other time.                                                Students should go home promptly.
 Students should know that if they damage any
  part of the bus, they will be held liable.                  HEAD START, PREKINDERGARTEN, AND
 Students should remain seated until their driver             KINDERGARTEN TRANSPORTATION
  gives them instructions if the bus has mechanical                     PROCEDURES
  trouble.
                                                                To ensure safety, a responsible person (at least
 Students should never sit in the driver's seat or
                                                            13 years old) must be on time to meet the bus at the
  tamper with any controls or equipment.
                                                            bus door at the assigned stop for Head Start,


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prekindergarten, and/or kindergarten students.                    EMERGENCY TRANSPORTATION
This includes morning and midday loading along                                PROCEDURES
with midday, afternoon, and evening unloading.                During an emergency and/or accident, students
                                                          need to adhere to the following procedures.
    When a responsible person is not available to         Students should:
receive a Head Start, prekindergarten, and/or                Remain quiet so they can hear directions being
kindergarten student on a return trip home, the               given.
driver will return the student to the school.                Leave the bus, if told to do so, in an orderly
Parent(s)/legal guardian(s) will be notified by the           fashion.
principal to come and pick up their child from the           Leave by the emergency door, when directed to
school. The school administrator will discuss this            do so. The larger students should help the
concern with the parent(s)/legal guardian(s).                 smaller students to the ground.
                                                             Walk to a safe spot away from the bus. Remain
    If a second incident occurs, the child will be            in a group off the road.
returned to the school and the parent(s)/legal               Report any injuries promptly to the driver, the
guardian(s) will be notified to pick up their child           police, or a rescue squad member.
at school. The regulation will again be reviewed
with the parent(s)/legal guardian(s). The school             USE OF VIDEO AND AUDIO RECORDING
administrator will mail a follow-up letter to the                 DEVICES ON SCHOOL BUSES
family indicating that a third incident may result in
loss of transportation privileges.                            Video and audio recording devices may be
                                                          placed on any school bus providing services to
    If a third incident occurs, the child will be         St. Mary’s County Public Schools at the request of
returned to school. Parent(s)/legal guardian(s) will      the bus contractor, school administrator, or Director
be notified to pick up their child at school.             of Transportation. Placement of video and audio
Transportation privileges will be revoked at that         recording devices may also be made at the direction
time. A written notice will be mailed to the family       of the Superintendent of Schools/designee. The
by the principal.                                         purpose of the video and audio devices will be to
                                                          monitor behavior on the bus.
             SPECIAL NEEDS
       TRANSPORTATION PROCEDURES                                          STUDENT
                                                                RESPONSIBILITY TO BE INFORMED
 All special needs students must be on time to their
  designated bus stop.                                    Use of Security Cameras on School Grounds and
 If required, a responsible person (at least 13 years)   in School Buildings
  must escort the special needs student to and from           Security cameras for video surveillance may be
  the bus when loading and unloading. If a                placed on school grounds and in school buildings at
  responsible person is not present when unloading,       the direction of the Superintendent of Schools/
  the student will be returned back to school. The        designee. The purpose of video surveillance is to
  parent(s)/legal guardian(s) will be responsible to      monitor activities occurring on a school campus and
  pick up the student from the school.                    enhance the safety and security of the school
 Special needs bus drivers and attendants must           building. All requests to view video surveillance
  remain near or on the bus at all times. They are        footage must be made in writing to the Department
  not permitted to escort students to and from a          of Safety and Security in a timely manner to ensure
  student’s home.                                         the footage is captured for future review.
 Special needs buses are not authorized to enter
  onto private property; i.e., driveways, dirt roads,     Student Searches
  etc.                                                        Under Maryland Education Article 7-308, a
                                                          principal or assistant principal of a public school
                                                          may make a reasonable search of a student on the
                                                          school premises or on a school-sponsored trip if


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he/she has a reasonable belief that the student has         Students may possess wireless communication
in his/her possession an item, the possession of        devices. The devices must be kept out of sight and
which is a violation of any other state law or a rule   turned off from the beginning of the instructional
or regulation of the county board. On school-           day (the start of the first class) to the end of the
sponsored trips, a designated teacher may conduct a     instructional day (the end of the last class). The
search.                                                 devices may not be used or allowed to emit any
                                                        ringtone or other noise on school grounds, when
    A principal or assistant principal may also make    students are participants in school-sponsored
a search of the physical plant of a school and its      programs, or activities to include but not limited to
furnishings and equipment including the lockers of      athletics, fine arts, and school clubs. In an
the students.                                           exceptional circumstance, a staff member may
                                                        authorize the use of an electronic device for an
Drug-Free Zones                                         appropriate reason. Students may use wireless
    The Drug-Free Zones - Youth Protection Act          communication devices in circumstances if they
makes a person guilty of a felony if he/she             have first received direct and expressed permission
manufactures, dispenses, distributes, or possesses      from authorized school personnel to include
with the intent to distribute certain controlled        classroom teachers and bus drivers.
dangerous substances, or who conspires to commit
these offenses in or within 1,000 feet of any real          Use of these devices during field trips and other
property used for certain school purposes or on a       school-sponsored activities off school grounds is
school vehicle under certain circumstances.             subject to the same conditions at the discretion of
                                                        the supervising staff member.
    The school system prohibits the possession
and/or use of illegal substances on school grounds,        Laptop computers, iPads, iPods, or other
including alcohol, cigarettes/tobacco products,         devices may be used during the instructional school
drugs, and drug look-alikes.                            day for instructional purposes only, with teacher
                                                        knowledge and consent. Students must follow
Canine Drug Scans of School Facilities                  network usage standards set by St. Mary’s County
    St. Mary’s County Public Schools and the            Public Schools.
St. Mary’s County Sheriff’s Office maintain an
agreement for carrying out canine drug scans of             Students shall not display, operate, or use any
school facilities and surrounding school properties.    camera phone at any time on school grounds from
The overall purpose of the scans is to protect and      the beginning of the instructional day (the start of
further ensure the safety of our students and staff     the first class) to the end of the instructional day (the
and to be proactive in maintaining a drug-free          end of the last class). Unauthorized photography
environment in schools. The searches will be            and video recording of the school environment
random, limited in scope, and not target any            during the instructional day is a violation of school
individual or faction, and conducted under the pre-     policy and established law. Illegal recording or
eminence of student safety. The scans will include      capturing of any communication or image will
interior building scans completed during the school     result in disciplinary action and possible referral to
day at times of the day when students are not in the    law enforcement authorities when appropriate.
building or when students do not have access to
hallways or other areas to be searched. The canines         The following categories of students may
will not be used to search students or staff.           possess wireless communication devices or
                                                        handheld portable phones turned on (inaudible
Possession or Use of Portable Electronic and            signal only) during normal school hours:
Wireless Communication Devices                             Students using portable pagers for medical
    School personnel have the right to limit the use        reasons; and
of electronic communication devices that impede            Students with disabilities may use electronic
the instructional climate in the school, create a           communication devices in accordance with their
disturbance, or disrupt the school environment.


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    Individualized Education Program (IEP) or 504         the school or St. Mary's County Public Schools’
    Plan.                                                 website www.smcps.org.

    Any observed or reported improper use of an           Gang Activity and Similar Destructive Behaviors
electronic device contrary to this regulation, shall          A criminal gang is a group or association of
result in confiscation of the electronic device by the    three or more persons whose members; individually
site administrator or designee. The parent(s)/legal       or collectively engage in a pattern of criminal
guardian(s) will be notified and a referral for           activity; have as one of their primary objectives or
disciplinary action will occur and may include            activities the commission of one or more underlying
revocation of privilege, detention, in-school             crimes, including acts by juveniles that would be
intervention, Saturday School, and/or suspension,         underlying crimes if committed by adults; and have
and referral to law enforcement authorities if illicit    in common an overt or covert organizational or
activities are suspected or reported.                     command structure. A pattern of criminal gang
                                                          activity is the commission of, attempted commission
    Use of an electronic or wireless device in any        of, conspiracy to commit, or solicitation of two or
incident will result in the confiscation of the device.   more underlying crimes or acts by a juvenile that
                                                          would be an underlying crime if committed by an
    St. Mary’s County Public Schools assumes no           adult.
liability for lost, stolen, or damaged personal
items of any student, including portable                      Gang activity and similar destructive behaviors
electronic devices. The school system assumes             are prohibited on school property, school buses, or
no responsibility for injury or damage related            at school-sponsored functions. Reprisal or
to malfunctioning equipment. Parent(s)/legal              retaliation against individuals who report gang
guardian(s) and students are encouraged to take           activity and similar destructive or illegal group
special care of portable electronic devices brought to    behavior or who are victims, witnesses, bystanders,
school. Additionally, St. Mary’s County Public            or others with reliable information about an act of
Schools advises parent(s)/legal guardian(s) to check      gang activity and similar destructive or illegal group
their homeowner’s or renter’s insurance policy to         behavior is also prohibited.
see if their policy covers such loss.
                                                              All school employees are required to report any
Bullying/Harassment/Intimidation                          incidents of suspected gang activity or similar
    Bullying is any intentional negative actions on       destructive or illegal behavior promptly to the
the part of one or more students, repeatedly and          principal and who will in turn forward the report to
over time, that interfere with a student’s ability to     the Director of Safety and Security for review
participate in or benefit from the school’s               (Appendix 8). The principal and the Director of
educational programs. Defamation, hazing, and             Safety and Security will take appropriate actions to
stalking may also be considered bullying.                 maintain and ensure the safety and security of the
                                                          school or campus environment.
    Harassment is intentional and inappropriate
negative actions or conduct on the part of one or             Student discipline and remedial actions for
more students that cause discomfort with identity         students engaged in gang activity or similar
issues in regard to race, color, national origin,         destructive or illegal group behavior or for students
gender, disability, sexual orientation, religion, or      who have made false accusations will be
identifying characteristics, and that interfere with a    consistently and fairly applied after timely and
student’s ability to participate in or benefit from the   appropriate investigation, consistent with due
school’s educational programs.                            process procedures. The student discipline will
                                                          follow the St. Mary’s County Public Schools’ Code
   Reports of bullying/harassment may also                of Conduct for the ascertained violation.
be followed up by completing the Bullying,
Harassment, or Intimidation Reporting Form
(Appendix 7). This form may also be obtained from


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Sexual Harassment and Sexual Assault                          which is represented to be (and a reasonable
    Sexual harassment in school is unwanted sexual            person would conclude) a dangerous weapon,
attention from teachers, other adults, students, or           and for which there is no reasonable or
anyone else the victim may deal with in school or             legitimate cause for the student to bring,
school-related activities. The range of behaviors             possess, or use on the property of St. Mary's
includes but is not limited to leering, suggestive            County Public Schools.
verbal or written comments, and pressure for sexual          Any firearm of any kind, whether loaded or
activity. Incidents of sexual harassment may occur            unloaded, operable or inoperable, and including
only once, but sometimes they are repeated. Often             any object which is a look-alike of a firearm,
the situation gets worse if it is not stopped. Also           even though incapable of operation.
included is any non-consensual touching of a sexual          Any weapon that will, is designed to, or may
nature that does not rise to a level of a sexual              readily be converted to expel a projectile by the
assault.                                                      action of an explosive.
                                                             The frame or receiver of any weapon described
    Sexual assault is understood as any unwelcome             above.
sexual contact, either directly or through clothing,         Any firearm muffler or firearm silencer.
which is committed by threat or by force and                 Any explosive, incendiary, or poison gas.
without the consent of the other person, including           Any combination of parts either designed or
but not limited to physical sexual attack on an adult         intended for use in converting any device into
or a student. The ranges of behaviors include but             any destructive device as described in preceding
are not limited to: deliberate inappropriate                  examples, and from which a destructive device
touching/pinching/grabbing of a sexual nature,                may be readily assembled.
attempted rape, or rape.
                                                            Other weapons may also include, but are not
    Victims of bullying, harassment, sexual             limited to:
harassment, or sexual assault should report the            Firecrackers (including but not limited to:
problem to an adult. The adult will then work with          firecrackers, smoke bombs, Roman candles, and
the student to see that appropriate action is taken.        showering cones); weapon look-alikes, and
A student or the student’s parent(s)/legal                  similar devices including knives of any kind
guardian(s) may appeal the decision of a school staff       (including, but not limited to: a switchblade
member to the principal and the principal’s decision        knife, a star knife, a dirk knife, a hunting knife);
to the Director of Student Services with regard             a straight razor, a spiked glove, a spiked
to discipline assigned to that student. In situations       wristband, or a spiked ring; metal knuckles; a
involving     sexual     harassment,   the     school       nunchaku or any other sharp instrument
administrator’s decision may be appealed by either          shaped, sharpened, or designed in such a way as
party as it applies to them by contacting the school        can injure, maim, cut, or puncture; explosive
system’s Title IX Coordinator. The Supervisor of            devices (bullets, shells without a weapon); or
School Counseling has the responsibility for Title IX       tear gas, tasers, stun guns, or other disabling
in St. Mary’s County Public Schools.                        agents.

The Bringing or Possessing of a Weapon                      The bringing of any weapon or firearm onto
    The bringing or possessing of a weapon by any       school property or to a school–sponsored event, or
student or individual on school property, at a          the possession of any weapon on school property or
school–sponsored event, on schools buses, or off        school-sponsored event shall be reported to the
school property greatly increases the risk of danger    police, Superintendent of Schools/designee, the
to all students and staff members.                      Director of Student Services, and the Director of
                                                        Safety and Security immediately.
   A weapon is defined as:
  Any object which reasonably could cause                 Under certain circumstances, the Gun Free
   physical harm or injury to a person; or an object    School Act of 1994 and other public laws require



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expulsion from school for a period of not less than     other buildings operated by St. Mary's County
one calendar year for any student in possession of a    Public Schools regardless of whether or not students
firearm on school property.                             are present.

    In addition, parent(s)/legal guardian(s) need to         In addition, as of July 1, 2006, the sale and use of
know what their students bring to school. Some          tobacco in any form is prohibited on school grounds
items can cause harm or disrupt the learning            (to include e-cigarettes and vaporizers) by anyone at
environment. These items include, but are not           all times (24 hours a day, every day) on all St.
limited to, butter knives, laser pointers, instant      Mary's County Public Schools’ grounds whether
bonding glues, or sharp tools. These types of items     owned or leased.
are not allowed at school, and if brought to school,
may be considered a violation of school rules and           As of July 1, 2006, the sale and use of tobacco in
may result in disciplinary action. If a common item     any form is prohibited at all times in all school
or any implement is brought to school with the          system vehicles (to include e-cigarettes and
intent to cause harm, the item may be considered as     vaporizers) including school buses, whether owned
an “other weapon.” In this case, the student may be     by the school system or contracted.
subject to disciplinary action that would result in
suspension or expulsion with a report made to law         DISTRIBUTION OF STUDENT LITERATURE
enforcement.
                                                             Students desiring to post or distribute free
Keeping Our Schools Safe Campaign                       literature that is not officially recognized as a school
    The St. Mary’s County Sheriff’s Office and          publication should submit the material to the
SMCPS have joined resources to implement the            principal for review and approval prior to
“Keeping Our Schools Safe” campaign. During the         distribution.
school year, students have the opportunity to view a
                                                            Students who violate this policy will be subject
short, age appropriate, public service message
                                                        to appropriate disciplinary action.
created in partnership with the Sheriff’s Office that
addresses what should and what should not be
brought to school. The public services message is
followed up by classroom discussion in an effort
to further educate our students about the
importance of this topic. Parent(s)/legal guardian(s)
are encouraged to discuss with students appropriate
and inappropriate items to have in their possession
at school. Parent(s)/legal guardian(s) are reminded
to check and re-check the contents of a student’s
book bag or backpack before they depart for school
each day.

  TOBACCO FREE SCHOOL ENVIRONMENT

    The State Board of Education adopted Tobacco-
Free School Environment Regulation (COMAR
13A.02.04.01 - .07) requiring each school system to
maintain a tobacco-free school environment. As of
July 1, 1993, the sale and use of tobacco in any form
is prohibited by anyone at all times (24 hours a day,
every day) in all St. Mary's County Public Schools’
buildings whether owned or leased. This includes
schools, central offices, warehouses, garages, or



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             GENERAL STATEMENT                                     IN-SCHOOL INTERVENTION

    A primary task of the school is to create an             Students may be assigned to in-school
appropriate learning environment for all students.       intervention (ISI) in lieu of suspension from school
The responsibility of creating an educational setting    for nonviolent, less serious offenses. Students
which meets the needs of each student belongs to         assigned to in-school intervention will report to the
all members of the school community.                     In-School Intervention Center (ISIC) as appropriate
                                                         to their school level and will be supervised by the
    Order is essential to instruction and to learning.   school staff. Failure to report to the ISIC or comply
Disorder cannot be tolerated. Individuals or groups      with ISIC rules will result in additional ISIC time or
who behave in disruptive or lawless ways erode the       suspension from school.
teaching-learning process and diminish the quality
of service the school is able to provide.                  STUDENT SUSPENSION AND EXPULSION

    To establish and maintain order, schools                 Suspension is the temporary removal of any
implement the policies and procedures of the school      student from school. Expulsion is the exclusion of a
system. School disciplinary strategies are designed      student from the students’ regular school program
to develop a sense of direction, self-discipline, and    for 45 school days or longer.
respect for the needs and rights of others. Self-
discipline is achieved when students acquire and             St. Mary's County Public Schools makes many
exhibit behavior appropriate to their age and            efforts to provide students a safe and orderly school
maturity level.                                          environment. Disruption of school activities is
                                                         considered a violation of school policies, rules,
    Students who choose to violate school conduct        and regulations and may result in a student's
standards, engage in illegal acts, and generally         in-school intervention, out-of-school suspension, or
make poor choices may impact their future                expulsion. A principal may suspend a student for
educational and employment options. School               up to ten (10) schools days. At the request of a
representatives may be required to provide               principal, the superintendent's designee may
recommendations for employment and information           suspend students for more than ten (10) school days
for security clearances. That request from               or expel them (Student Code of Conduct).
employers or colleges might include information
about suspensions and expulsions.                            The suspension and expulsion of students with
                                                         disabilities will be reviewed by the Individualized
         SCHOOL DISCIPLINARY PLAN                        Education Program (IEP) Team with respect to their
                                                         disability and individualized education program.
    Each school shall develop and implement              The school administrator must also follow the
a positive disciplinary plan. This plan should           guidelines that pertain to the suspension and
include sequential, progressive steps which              expulsion of students with a 504 Plan.
involve appropriate school system personnel and
parent(s)/legal guardian(s).                                     ALTERNATIVES TO EXPULSION

    A student referred for disciplinary action shall         As an alternative to expulsion, students may be
receive oral or written notice of the reason(s) for      assigned to an alternative educational program. The
his/her referral and shall have the opportunity to       purpose of this program is to provide students with
present his/her side of the story before any             an opportunity to modify their behavior to the
disciplinary action is taken. Where necessary, the       degree that it becomes acceptable in a regular
use of exclusion/restraint may be used to ensure         school setting.
the protection of student/staff safety.




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      STUDENT READMISSION AFTER A                            Students using school bus transportation are
    LONG-TERM SUSPENSION, EXTENDED                       under the jurisdiction of the school from the time
        SUSPENSION, OR EXPULSION                         that they board the bus until they disembark from
                                                         the bus. While off the bus and when students are in
    The duration of a long-term suspension,              view of the bus driver, they can still be held
extended suspension, or expulsion is outlined at the     accountable by the school for any inappropriate
conference. A written agreement on the conditions        actions.
of readmittance may be required and include such
conditions as attendance, grades, and discipline.           The bus driver has the responsibility of
                                                         maintaining orderly behavior of students on school
    When a student is allowed to return after a          buses and will report misconduct to the appropriate
long-term suspension, extended suspension, or            school official.
expulsion, there is usually a written agreement on
the conditions of readmittance that may include but          The school principal has the authority to
not be limited to:                                       suspend the riding privileges of students who are
                                                         involved in disciplinary problems on the bus.
 The student will attend regularly and will comply      Parent(s)/legal guardian(s) of children whose
  with attendance regulations.                           behavior and misconduct on school buses
 The student will make a reasonable effort to work      endangers the health, safety, and welfare of other
  to the best of his/her ability in all classes at all   riders will be notified their children face the loss of
  times.                                                 school bus riding privileges in accordance with Bus
 The student will abide by all school rules,            Misbehavior (Student Code of Conduct).
  regulations, and procedures           to prevent
  disciplinary action.                                       Students whose school bus privileges have been
                                                         suspended may not ride any public school bus in
 LOSS OF SCHOOL BUS RIDING PRIVILEGES                    St. Mary's County during the period of suspension.
                                                         This includes buses to and from school, to and from
    The safety of students during their                  the Dr. James A. Forrest Career and Technology
transportation to and from school is a responsibility    Center, program trip buses, and sports buses.
which they and their parent(s)/legal guardian(s)
share with bus drivers and school officials.




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            ARRIVALS/DEPARTURES                         Secondary
                                                            On most days, classroom teachers are available
    St. Mary’s County Public Schools’ start and end     after school to help students. Students should be
times vary for each school. Please refer to School      encouraged to seek extra help during this time.
Session Schedule (Appendix 10) for the schedule of      Transportation must be arranged for and approved
each school. Teachers remain for 30 minutes after       in advance by the parent(s)/legal guardian(s) and
the end of the school day.                              the school administration.

    Walkers and students who are not transported            Students who remain after school for activities,
by the bus are not to arrive at school any earlier      discipline, and/or extra help in their subjects must
than 15 minutes prior to the start of the school day.   have a permission form signed by parent(s)/legal
Staff members are not available to supervise            guardian(s).
students prior to this time.          Parent(s)/legal
guardian(s) who wish to transport students home             Teacher supervision will continue until the last
from school should pick them up no later than 15        student has been released to the parent(s)/
minutes after the end of the school day.                legal guardian(s). Parent(s)/legal guardian(s) are
                                                        expected to pick up their student immediately after
    When it is necessary for a student to leave         the end of the activity.
school early or be transported by other means,
please follow these procedures:                             Written permission from parent(s)/legal
   Write a note for the school office stating the      guardian(s) is the preferred process to allow
    date, time of departure, and who will be signing    students to remain after school for an activity. In
    the student out from the school office.             some instances, phone permission or email from the
   In all cases, parent(s)/legal guardian(s) or        parent(s)/legal guardian(s) may be approved by the
    designated       person    must   show     photo    principal or assistant principal.
    identification in order to sign a student out of
    his/her school.                                     COMPUTER NETWORK USAGE STANDARDS
   The teacher will be notified to send the student
    to the office to leave school.                        All use of the network must be in support of
                                                           education and research and consistent with the
    Should there be a circumstance in which a              purposes of St. Mary’s County Public Schools.
spouse or former spouse is prohibited from picking        Any use of the network to facilitate illegal
up the student, school personnel must have a copy          activity is prohibited, including copyright
of the court order for the student's file.                 violations.
                                                          Any use of the network for commercial or
Elementary                                                 for-profit purposes is prohibited.
    Students may not stay after dismissal time            Users shall not intentionally seek information
without prior permission. In the event of special          (i.e., passwords, files, settings) about other
school programs or school-approved community               users, or misrepresent other users on the
programs, students who remain must present a note          network.
stating:                                                  All communications and information accessible
   Student's name                                         via the network should be assumed to be
   Date(s)                                                private property.
   Reason for staying after school                       No use of the network shall serve to disrupt the
   Time of pick up                                        use of the network by others; hardware or
   Parent(s)’/legal guardian(s)’ signature                software shall not be destroyed, modified, or
                                                           abused in any way.
   Parent(s)/legal guardian(s) are responsible for        Malicious use of the network to develop
and must pick up their child(ren) at the designated        programs that harass other users, or to infiltrate
time.                                                      a computer or computer system is prohibited.



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   Hate mail, harassment, discriminatory remarks,         3. In-school intervention. A student assigned in-
    and other antisocial behaviors are prohibited.            school intervention is ineligible on the day(s) of
   The illegal installation of copyrighted software          the assignment.
    for use on school computers is prohibited.             4. Student debts and fines. A student who has
   Use of the network to access obscene or                   outstanding debts at the end of each marking
    pornographic material is prohibited.                      period will not be allowed to participate in
                                                              sports or other co-curricular activities.
    Disregard of the St. Mary’s County Public
Schools’ network usage standards will be subject to                      FEES/CHECKS/CASH
disciplinary actions. Signatures for consent and use
must be obtained for the use of the internet and              The school will accept checks from parent(s)/
other computer resources in school (Appendix 5).          legal guardian(s) for field trips, insurance, books,
                                                          pictures, fees, and other school functions.
ELIGIBILITY FOR HIGH SCHOOL ACTIVITIES
                                                              Students will be charged a nominal rental fee
    In order to be academically eligible to               yearly for locks, lockers, and other types of
participate in after-school activities in high school,    equipment. A fee will also be assessed for lost or
students in grades nine through twelve must               damaged school materials and equipment.
maintain a G.P.A. of at least 2.0. Summer School          Students in some special subject classes may be
credit will not apply in the application of the           asked to purchase materials for projects which will
eligibility code.                                         be theirs upon completion.

    Following the issuance of fourth marking                  Checks are to be made out to the school or as
period report cards, any exceptions or appeals to         indicated. Post-dated checks may not be accepted.
the student eligibility code must be submitted in         Fees will be assessed for returned checks.
writing to the respective high school principal by
July 15. Any appeal of the high school principal’s            If parent(s)/legal guardian(s) do not wish to
decision should be directed to the Superintendent of      write a check, cash may be sent with the student.
Schools within ten (10) days of the high school           The cash should be placed in an envelope or
principal’s decision.                                     wrapped in some way and marked with the
                                                          student's name and room number, amount, and its
    Individual special education students may be          purpose. Parent(s)/legal guardian(s) should make
exempted by the school Individualized Education           every effort to try to send the exact amount.
Program (IEP) Team when it is determined that
failure to meet the eligibility requirement is a result       Students should not bring money to school
of the nature and severity of the student’s disability.   except for a school-related special purpose.

    Students in grades nine through twelve who                               FIELD TRIPS
achieve a G.P.A. of 2.0 or higher may participate
without restrictions, as long as they maintain their          Field trips are carefully planned and specifically
G.P.A. at this level, and do not become ineligible for    related to the classroom instructional program.
one of the following reasons:                             Each trip is designed for a certain grade level
 1. Absence from school. A student must be present        student. While we appreciate parent(s)'/legal
    for at least half of the school day. In extenuating   guardian(s)’ time and help as volunteers, we cannot
    circumstances an exception may be approved            honor requests that younger children (in or out of
    by the principal.                                     school) be allowed to accompany parent(s)/legal
 2. Suspension from school. A student remains             guardian(s) on field trips.
    ineligible until reinstated by the principal and
    has attended classes for at least one school day.




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     FOCUS ON CYBER USE AND SAFETY                      entire household and include any foster children.
          (F.O.C.U.S.) INITIATIVE                       Return your completed form to the student’s school
                                                        office. Call the Department of Food and Nutrition
    St. Mary’s County Public Schools (SMCPS) in         Services at (301) 475-4256, option 5 if you need help
partnership with the Office of the Attorney General     with filling out this form.
has initiated a Three Point Plan to Focus On Cyber
Use and Safety (FOCUS). The plan includes:                  Our cafeterias operate a computerized point-
   All SMCPS’ elementary school students will          of-sale system, which utilizes the student‘s
    receive cyber safety instruction through lessons    identification number and a keypad to identify
    presented by the media specialist,                  students and also pay for their meals. Students may
   All SMCPS’ secondary school students will           pay for their meal with cash or electronically with
    receive instruction through student assemblies      money that has been placed on their account.
    and/or school-based programs in collaboration       Money may be placed on their account with cash,
    with the media specialist, and                      personal check, or through the internet by using
   SMCPS will reinforce the importance of cyber        MySchoolBucks. A MySchoolBucks account may be
    safety through public forums.                       setup by visiting www.MySchoolBucks.com. The
Additional information is available on the SMCPS’       website may also be used to set up automatic
Department of Safety and Security website               replenishment of your student’s account and to
www.smcps.org/offices/dss/safety-security.              view cafeteria purchases made by your student.
                                                        There is no charge for using this service.
           FOOD SERVICE PROGRAM
                                                           Special circumstances may arise that require
    “The vision of the Department of Food and           additional guidance:
Nutrition Services is to be child nutrition advocates
and to provide nutritious, attractive meals to              When a student does not have money to pay for
students and staff.”                                    their meal, they will be permitted to create a
                                                        negative cash balance on their account. Secondary
    To this end, St. Mary's County Public Schools       students are limited to a credit of $5.00 and
operates a food service program approved by the         elementary students are limited to a credit of $10.00.
Maryland State Department of Education for              Only full meals that meet the USDA’s guidelines
participation in the National School Lunch              will be allowed to create a negative balance; ala
Program. This program offers breakfast and lunch        carte and snack items are not allowed. Once a
meals that meet the nutritional guidelines set forth    student reaches their credit limit, full meals will no
by the United States Department of Agriculture.         longer be offered; however, an alternate meal will
These meals are available for purchase at our           be provided to elementary students. Negative
cafeterias along with ala carte offerings and snack     balances must be paid off in a timely manner.
items. Students may qualify for free or reduced-
priced meals.                                               If there is an unscheduled early dismissal day
                                                        due to inclement weather or an emergency
    To determine eligibility for free or reduced-       condition, your prekindergarten student may have
price meals, please obtain and submit an                a delayed departure from school and will be offered
application for free or reduced-price meals. These      the lunch meal. This may create a negative balance
forms are available at each school or you can print     on your student’s meal account that will need to be
a form from the school system website                   paid. Placing money on your prekindergarten
at www.smcps.org/dss/food-services/meal-benefit         students’ account will ensure there are sufficient
forms. Please submit one application for your           funds to cover this meal.




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               GRADING POLICY                                             HOMEWORK

Elementary                                              Elementary
    The evaluation of student progress is a                  Homework is a valuable part of the
continuous process. It involves many evaluative         instructional program. It may serve as a supplement
activities which are an integral part of the learning   to or reinforcement of classroom instruction.
experience. Students are evaluated on their progress    Assignments may include unfinished class work,
on the outcomes and indicators in which they are        reading, practice to strengthen newly acquired
being instructed. The teacher completes the report      skills or to reinforce old skills, and/or special
card based on teacher observation, classroom            projects. The amount of homework assigned may
performance, and formative assessment data.             vary depending upon grade level and area of study.
                                                        If you have questions regarding specific homework
Secondary                                               assignments, please direct them to your child's
   The grading system consists of letter grades         teacher.
based on a numerical percentage grading scale.
                                                        Secondary
                GRADING SCALE                               Homework is assigned to supplement or
                                                        reinforce classroom teaching and learning.
              Letter        Percentage**                Homework may be assigned for practice, to
              Grade
               A             90% - 100%                 strengthen new skills, to complete unfinished
              B              80% - 89%                  classroom assignments, and to work on projects or
                                                        guided reading activities begun in each class. The
              C              70% - 79%
                                                        frequency of assignments will depend upon the
              D              60% - 69%                  nature of the subject, the content being studied, the
              F*             0% - 59%                   grade level, and the learning objective.

 * High school students who receive a 45 - 59% for               INSTRUCTIONAL PROGRAMS
    the semester receive the letter grade “E”
    indicating the course can be retaken in high            Students participate in the following programs,
    school summer school.                               taught by area specialists, as part of regular
 ** All percent scores are rounded to the nearest       instruction:
    whole number. Anything below .5 rounds down            Art, Grades K-8
    and anything .5 and above rounds up.                   Library Media, Grades K-8
                                                           Music, Grades K-8
         HOME ACCESS CENTER (HAC)                          Physical Education, Grades K-8

    Home Access Center (HAC) is a web-based                 Instruction for prekindergarten students in half-
communication link between school and home.             day programs in the areas of art, media, music, and
Parent(s)/legal guardian(s) may view interims,          physical education is provided by the classroom
school transcripts, class schedules, homework           teacher and supported by area specialists.
assignments, attendance records, and discipline
reports for the purpose of providing educational            The elementary schools also offer numerous
guidance to their children. At the beginning of the     programs that extend, supplement, and/or enrich
school year, parent(s)/legal guardian(s) will be        the regular school curriculum. These include:
provided with a user name and password. If you             Adaptive Physical Education
are having problems with your username,                    Counseling Program
password, or login, please contact your school.            Instrumental Music (Band or Strings)
                                                           Gifted and Talented Program
                                                           Special Education
                                                           Vocal Music (Chorus)
                                                           Health Care


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   These programs involve specific student groups            Formal interim reports will be sent home with
within the schools. For further information, contact     all students in grades three, four, and five on a
your child's school.                                     designated day during each marking period. These
                                                         reports highlight positive progress and/or lack of
    Information related to the instructional program     adequate achievement.
for high school students is available in the High
School Program of Studies. The Program of Studies            Open communication between home and school
may be found on the SMCPS website.                       is essential to facilitate maximum success for
                                                         students.
                   INSURANCE
                                                         Secondary
    St. Mary’s County Public Schools does not                Formal interim reports are given to all students
provide medical payment coverage for student             on a designated day during each marking period.
accidents     that      occur      during      school-   These reports highlight positive progress and/or
related activities. The school system has selected       lack of adequate achievement. Interim reports will
and made available to parent(s)/legal guardian(s),       be sent home with students.
on a voluntary basis, student accident insurance
coverage to provide affordable coverage options.                    LIBRARY/MEDIA CENTER
Parent(s)/legal guardian(s) are encouraged to take
advantage of purchasing such coverage for their          Elementary
children. At the beginning of each school year,              The library/media center has an open
information will be sent home with each student          circulation policy. The privilege of its use carries
stating several types of coverage options available      with it the responsibility of care for the materials
and the premium cost per student. Anyone who             and promptness of their return. A borrower is held
wishes to purchase one of the insurance coverage         responsible for damaged and lost materials.
options will be able to do it online directly with the   Parent(s)/legal guardian(s) will be notified about
insurance carrier.                                       any reimbursement due to the school.

    St. Mary’s County Public Schools does not carry      Secondary
insurance that covers lost or stolen personal items          All students are afforded the opportunity to use
of any student, including musical instruments. You       the library/media center on a regular basis. Each
and your child are encouraged to take special care       school has a computerized check-out system which
of musical instruments and/or personal items that        allows students to borrow books for two-week
are brought to school. St. Mary's County Public          intervals. This check-out system maintains an up-to-
Schools advises parent(s)/legal guardian(s) to check     date borrowing record for each student. Students
their homeowner's or renter's insurance to see if        are notified of overdue books on a weekly basis.
their policy covers such loss.
                                                             The computer automatically restricts the
               INTERIM REPORTS                           borrowing privileges of students with overdue
                                                         books. Fines are not charged for overdue books, but
Elementary                                               materials that are not returned or are severely
    Interim reports for kindergarten and grades 1        damaged must be paid for in full.
and 2 may take many forms. For example, teachers
communicate with parent(s)/legal guardian(s)                             MAKE-UP WORK
periodically through written and verbal contacts.
Parent(s)/legal guardian(s) are encouraged to                Students with lawful absences/tardiness are
respond.                                                 allowed to receive full credit for any make-up work.
                                                         They are also allowed to make up and take
                                                         alternative exams/tests. It is the responsibility of
                                                         the student and/or parent(s)/legal guardian(s) to




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request the make-up work and turn in completed           such as expensive electronics, watches, and jewelry,
assignments within five (5) school days or in an         or large sums of money should not be brought to
agreed upon time period as determined by the             school. The school is not responsible for lost or
school principal or designee. If a student who is        damaged property.
lawfully absent fails to make up work within this
timeframe, he or she will receive a grade of zero for                     PETS/ANIMALS
the assignment(s).
                                                             The study of animals may be included in the
    Students who are unlawfully absent will have         instructional program of some students. For safety
the opportunity to make up the work, but they will       and health reasons, animals are not to be brought to
forfeit the opportunity to earn credit for the work.     school without prior permission from the school
                                                         administrator. Animals may not be transported on
    PARENT/LEGAL GUARDIAN/TEACHER                        school buses.
             CONFERENCES
                                                                    PHONE MESSAGES/EMAIL
     Parent/legal guardian/teacher conferences are
an     essential   part    of    the    school/parent        In order to minimize interruptions during the
communication process. A conference may be               school day, calls to teachers will be accepted by
initiated by either the parent(s)/legal guardian(s) or   office personnel and the messages given to teachers,
school personnel. The conference should afford an        except for emergency situations. Every effort will be
opportunity for sharing information to promote the       made to respond to your communication within 24
welfare and achievement of the student.                  hours.

   All conferences should        be   scheduled    in               PROMOTION/RETENTION
advance, when possible.
                                                             Students' progress shall be monitored
                     PARTIES                             throughout the school year and parent(s)/legal
                                                         guardian(s) shall be notified of unsatisfactory
    School parties are to be kept to a minimum.          progress at the earliest indication.
Generally, observances are held for certain
holidays. Other parties should be held only with the         The final responsibility for decisions regarding
permission of the appropriate school personnel.          promotion and retention of elementary and middle
                                                         students rests with the principal, after consultation
             PERSONAL PROPERTY                           with teachers and parent(s)/legal guardian(s).

Elementary                                                  High school students must earn the appropriate
     Personal property (coats, jackets, lunch boxes,     number of credits to be promoted.
etc.) should always be clearly identified with the
student's name. Items not related to the                                  REPORT CARDS
instructional program should remain at home
unless the student has received permission from the      Elementary
classroom teacher to share the item with classmates.         Reports cards are issued four times a year.
Valuable items such as expensive electronics,            Please review these reports carefully and discuss
watches, and jewelry, or large sums of money             them with your child. If a student needs more time
should not be brought to school. The school is not       at the same grade level, it is indicated on the
responsible for lost or damaged property.                progress report at the end of the second marking
                                                         period. If you have questions about the report,
Secondary                                                contact the school to schedule a conference.
   Students, with the advice of parent(s)/legal
guardian(s), should carefully select the personal
property that is brought to school. Valuable items



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Secondary                                                    School Counselors are available to assist
    Report cards are sent home at the end of each        students in:
marking period. Final report cards will be mailed           acquiring skills, attitudes, and knowledge to
home, distributed to students on the last day of             succeed in school
school, or available for pickup from the school. In         employing strategies to succeed in school
academic subjects, students are evaluated on their          understanding the relationship of academics to
progress in the level of materials which are assigned        the world of work, life at home, and in the
to them.                                                     community
                                                            understanding the relationship between
   The System Operational Calendar (Appendix 9)              personal qualities, education and training, and
provides the dates for report card distribution.             the world of work
                                                            acquiring     attitudes,     knowledge,     and
                    SBIRT                                    interpersonal skills to help them understand
 (Substance Abuse Screening, Intervention, and               and respect self and others
            Referral for Treatment)                         understanding safety and survival skills.
    To help prevent students from starting to use
                                                             Students are encouraged to meet and talk with
substances, or intervene with early use, St. Mary’s
                                                         their counselors whenever the need occurs.
County Public Schools’ secondary school counselors
                                                         Parent(s)/legal guardian(s) are encouraged to
are able to provide an interview-based screening for
                                                         discuss with the counselor their child’s educational
middle and high school students about the use of
                                                         and career planning, as well as any concerns they
alcohol, marijuana, and other drugs. Students that
                                                         have about their child’s progress. Parent(s)/legal
present as using will be screened in a confidential
                                                         guardian(s) are also encouraged to attend
and brief [five (5) to ten (10) minute] interview.
                                                         conferences and other programs offered at their
                                                         child’s school. Effective communication as concerns
    Results of the screening will NOT be included
                                                         arise may prevent difficulties at a later date.
in the student’s school record.       Parents/legal
guardians have access to any screening information       Secondary
completed, along with helpful information for next           The school counseling program provides
steps should a student have an indicated screening.      services to students, their families, and school staff
                                                         that are intended to facilitate the personal and
    As with any school screening, parent(s)/legal
                                                         academic growth of all students, ensure the
guardian(s) have the right to opt out their student
                                                         development of effective educational and career
from the possibility of this screening. Additionally,
                                                         decision-making     skills,   and      promote    the
screening is voluntary, and students may choose
                                                         development of appropriate interpersonal skills
not to answer any part or all of the screening
                                                         among all students.
questions (Appendix 3 - Parental “Opt Out” Form).
                                                             School Counselors are available to assist
      SCHOOL COUNSELING PROGRAM
                                                         students in:
Elementary                                                  acquiring skills, attitudes, and knowledge to
    The school counseling program provides                   succeed in school
services to students, their families, and school staff      understanding the relationship of academics to
that are intended to facilitate the personal                 the world of work
and academic growth of all students, ensure                 acquiring the skills to investigate the world of
the development of effective educational and                 work in relation to knowledge of self and to
career decision-making skills, and promote the               make informed career decisions
development of appropriate interpersonal skills             understanding the relationship between
among all students.                                          personal qualities, education and training, and
                                                             career planning




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  acquiring     attitudes,    knowledge,   and                            SUPPLIES
   interpersonal skills to help them understand
   and respect self and others                            Parent(s)/legal guardian(s) will be asked to
                                                       provide supplies for their child(ren). Requested
    Students are encouraged to meet and talk with      materials may differ by grade and by teacher.
their counselors whenever the need occurs.
Parent(s)/legal guardian(s) are encouraged to                             TEXTBOOKS
discuss with the counselor their child’s educational
                                                           The St. Mary's County Public School System
and career planning, as well as concerns they have
                                                       provides free textbooks for all public school
about their child’s progress. Parent(s)/legal
                                                       students. Once a textbook is issued to a student, it
guardian(s) are also encouraged to attend
                                                       becomes the student's responsibility to care for the
conferences and other programs offered at their
                                                       book. All books must be covered. The school must
child’s school. Effective communication as concerns
                                                       be reimbursed for lost or damaged books. In some
arise may prevent difficulties at a later date.
                                                       instances, textbooks are shared. This is to allow for
            STUDENT VEHICLE USE                        variety and flexibility in instructional approaches.
                                                       At some grade levels, in some content areas,
   Students are not permitted to operate or park       classroom sets of textbooks are used.
any type of vehicle anywhere on a school campus
without the approval of the school administrator.                          VISITORS
Parking permits are issued each year by the school.
                                                           Parent(s)/legal guardian(s) and community
    YOUNG DRIVERS SAFETY PROGRAM                       participation in schools is important and valued. In
                                                       addition to serving as a resource for teachers and
    The safety and education of young drivers is a     students,    it   indicates   that    parent(s)/legal
priority in St. Mary’s County. St. Mary’s County       guardian(s) and community members are interested
Public Schools has joined with the community and       in and committed to the educational process. These
developed a Five Point Plan. Students requesting a     visits also build understanding and confidence in
parking permit at a high school:                       our schools. We encourage parent(s)/legal
  must view a presentation addressing young           guardian(s) and community visits and assistance
    driver high risk behavior,                         whenever possible.
  must sign a safe driving contract, and
  are encouraged to register their vehicle with the       When planning a visit, it is requested that you
    Sheriff’s Telling Our Parents and Promoting        call the school to arrange a convenient time. In
    Educated Drivers (S.T.O.P.P.E.D) Program at        order to minimize disruption to students' learning,
    the Sheriff’s Office.                              we ask that you please refrain from bringing other
                                                       children when you visit.
   In addition, SMCPS will:
  require all secondary students to attend a one         For the safety of our students, all visitors must
                                                       report to the office and sign in upon entering the
   hour student assembly about traffic fatalities,
                                                       school and before visiting a classroom.
   and
  reinforce safe driving through other student            Visitors are expected to be considerate of the
   activities, media releases, and public service      school and community expectations and ideals.
   announcements.                                      These expectations include appropriate dress and
                                                       demeanor.      Clothing displaying or suggesting
For more information about this and other
                                                       profanity, sexual activity, weapons, alcohol, or
prevention programs and additional resources
                                                       violence should not be worn. Language and actions
please visit www.smcps.org/safety-and-security.
                                                       should demonstrate respect for the educational




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environment and the community. Visitors are in a               WITHDRAWAL FROM SCHOOL
position to set a positive example for students to
follow.                                                    Parent(s)/legal guardian(s) who plan to
                                                       withdraw their child from school should inform the
                  VOLUNTEERS                           school two days prior to the departure date.
                                                       Students must obtain a Maryland state form (SR 7)
    Volunteer service to our schools supports          from the office on the morning of the withdrawal.
student learning. SMCPS strives to encourage           No student can be considered withdrawn until the
volunteerism in our schools. A background              withdrawal form is returned, all fines and fees are
screening is required of all volunteers to ensure a    paid, and a request for records has been received
safe and secure learning environment. For more         from the school in which the student enrolls.
information about becoming a school volunteer and
volunteer        resources       please        visit       End of the year promotions and final report
www.smcps.org/safety-and-security/volunteer-           cards will not be issued prior to the end of the
information.                                           school year.

    If the activity of a volunteer organization
will affect or alter the school facilities,
a “Modifications to Buildings and Grounds”
form must be submitted and approved
before any alterations can begin. Please visit
www.smcps.org/maintenance-
forms/table/maintenance/list for a copy of this
form.




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                                            STUDENT CONDUCT

    Listed below are the behavioral interventions to be taken when a student’s behavior warrants
consequences. In a behavioral intervention, the school administrator may exercise judgment in the
implementation of disciplinary actions. An incident may warrant intervention dependent upon the age of
the student, the situation, and the previous record of the student. In the case of a student who poses an
imminent threat of serious harm to other students and staff or has engaged in chronic and extreme
disruption of the educational process, the student may be removed from school and a conference with the
parent(s)/legal guardian(s) will be requested. In a behavioral intervention involving a student with an
Individualized Education Program (IEP) or 504 Plan, the school administrator must follow the guidelines
that pertain to those students. In all other cases, all administrators shall follow the intervention levels for
violations. In a behavioral intervention that will involve a police arrest at school, the administrator must refer
to Policy JFBA and Regulation JFBA-R for guidance. All delinquent acts and any suspected gang-related
behavior committed by students are promptly reported to law enforcement by a school
administrator/designee. Delinquent acts are offenses committed by a person who is under 18 years old,
which would be crimes if committed by an adult. All schools shall follow these procedures.

    When a student commits a violation of the Board of Education of St. Mary’s County’s policies and
regulations on the bus, such as engaging in violent, unsafe, and/or illegal behaviors, the school
administrator must follow the appropriate consequences for the violation. For more serious infractions on
the bus, discipline will include at least the appropriate support/intervention for the code violation.

    Administrators must exercise caution in allowing students who have lost bus privileges and/or have
been suspended from school to ride the bus home. The parent/legal guardian shall be contacted to transport
the student home when there is a concern that the student may be a danger to himself/herself or others.

                               VIDEO AND AUDIO RECORDING DEVICES

    At the request of a school administrator or a bus contractor, video and audio recording devices may be
placed in any school building or on any bus providing services to St. Mary’s County Public Schools.
Placement of cameras may also be made at the direction of the superintendent of schools, the director of
transportation, or their designees.

    The purpose of the video and audio recording devices will be to monitor behavior in school and/or on
the bus. Disciplinary actions may result based on the video and audio record of the misbehaviors.

                                       CHARACTER DEVELOPMENT

     As a proactive approach to school-wide discipline, St. Mary's County Public Schools is working to
prevent and reduce discipline problems by pairing positive character traits with specific code violations and
disciplinary actions. Character building is most effective when a school regularly utilizes the opportunity to
strengthen awareness of positive choices. This improves a student's ability to foresee potential consequences,
devise options, and implement responsible choices. By teaching the Six Pillars of Character (caring,
citizenship, fairness, respect, responsibility, and trustworthiness), schools can assist students in decision-
making based on core values. Each school administration has established specific character building
interventions to enhance the total educational program. When an infraction occurs, administrators will
review appropriate character traits with the student during their discussion.
The six (6) pillars are defined as follows:




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P-1 CARING
      · Be kind.
      · Be compassionate and show you care.
      · Express gratitude.
      · Forgive others.
      · Help people in need.
P-2 CITIZENSHIP
      · Do your share to make your school and community better.
      · Cooperate.
      · Stay informed; vote.
      · Be a good neighbor.
      · Obey laws and rules.
      · Respect authority.
      · Protect the environment.
P-3 FAIRNESS
      · Play by the rules.
      · Take turns and share.
      · Be open-minded; listen to others.
      · Don't take advantage of others.
      · Don't blame others carelessly.
P-4 RESPECT
      · Treat others with respect; follow the Golden Rule.
      · Be tolerant of differences.
      · Use good manners, not bad language.
      · Be considerate of the feelings of others.
      · Don't threaten, hit, or hurt anyone.
      · Deal peacefully with anger, insults, and disagreements.
P-5 RESPONSIBILITY
      · Do what you are supposed to do.
      · Persevere: keep on trying!
      · Always do your best.
      · Use self-control.
      · Be self-disciplined.
      · Think before you act - consider the consequences.
      · Be accountable for your choices.
P-6 TRUSTWORTHINESS
      · Be honest.
      · Don't deceive, cheat, or steal.
      · Be reliable - do what you say you'll do.
      · Have the courage to do the right thing.
      · Build a good reputation.
      · Be loyal - stand by your family, friends, and country.

   The violations are listed alphabetically with the number of the character pillar noted below the infraction
code (i.e., P-6 = trustworthiness).




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           LEVEL OF RESPONSES WITH BEHAVIORAL SUPPORTS AND INTERVENTIONS

 The appropriate level of response will be assigned based on the action(s) of the student. According to the
 severity of the action(s), one or more intervention(s) may be assigned to the student. Also, supports and
 interventions from lower levels may be assigned.

           These responses are designed to teach appropriate behavior, so students are respectful, and can
           learn, and contribute to a safe environment. Teachers are encouraged to try a variety of teaching
           and classroom management strategies. When appropriate, teachers may engage the student’s
LEVEL 1    support system to ensure successful learning and consistency of responses, and change the
           conditions that contribute to the student’s inappropriate or disruptive behavior. Responses taken
           may include, but are not limited to: parent/legal guardian outreach (contact parent/legal guardian
           via phone, email, or text); verbal correction; conference with school resource officer; or restitution.

           These responses are designed to teach appropriate behavior, so students act respectfully, can learn,
           and contribute to a safe environment. Many of these responses engage the student’s support
           system, and are designed to alter conditions that contribute to the student’s inappropriate or
LEVEL 2    disruptive behavior. These responses aim to correct behavior by stressing its severity and
           acknowledging potential implications for future harm, while still keeping the student in school.
           Responses taken may include, but are not limited to: loss of privileges; conference with
           parent/legal guardian and student; or time out.

           These responses engage the student’s support system to ensure successful learning, and to alter
           conditions that contribute to the student’s inappropriate or disruptive behavior. These responses
           aim to correct behavior by stressing its severity and acknowledging potential implications for future
LEVEL 3    harm, while still keeping the student in school. These responses may involve the short-term
           removal of a student from the classroom. Such a removal should be limited as much as practical
           without undermining its ability to adequately address the behavior. Responses taken may include,
           but are not limited to the In-School Intervention Center.


           These responses address serious behavior while keeping the student in school, or when necessary
           due to the nature of the behavior or potential implications for future harm, remove a student from
LEVEL 4    the school environment. They promote safety of the school community by addressing self-
           destructive and dangerous behavior. Responses taken may include, but are not limited to short-term
           out-of-school suspension (1-3 days).


           These responses remove a student from the school environment for an extended period of time
           because of the severity of the behavior and potential implications for future harm. They may
           involve the placement of the student in a safe environment that provides additional structure and
LEVEL 5    services. These responses promote the safety of the school community by addressing self-
           destructive and dangerous behavior. Responses taken may include, but are not limited to: long-
           term out-of-school suspension (4-10 days); extended-term out-of-school suspension* (11-44 days); or
           expulsion.*
           * As determined by the hearing officer




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 801
 P-6
 Academic Dishonesty/Cheating - Academic dishonesty through cheating, copying, forging signature of teacher
 and/or parent(s)/legal guardian(s), plagiarizing, altering records, or assisting another in such actions. This
 includes the use of electronic devices for these purposes.

       Key                      Level 1               Level 2              Level 3              Level 4                         Level 5
801                    Plagiarizing, such as by taking someone
Academic               else’s work or ideas (for students grade
Dishonesty/            6-12); forgery, such as faking a signature
Cheating               of a teacher or parent/legal guardian; or
                       cheating.
                                                  Sharing of local, state, or federal test information.

 ●    Teacher’s discretion as to impact on grade.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 201
 P-2
 Alcohol - Possession, use or showing evidence of use, sale, or distribution of any alcoholic substances. (See Policy
 JHH for extended definitions.)

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

        Key                  Level 1             Level 2             Level 3            Level 4                                Level 5
201                      Being under the influence of alcohol and/or possession of alcohol.
Alcohol                                     Distributing/selling alcohol.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.




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 501
 P-2
 Arson/Fire - Attempting to, aiding in, or setting fire to a building or other property. Students will be required to
 make restitution. The administrative investigation determines the intent, and the intent drives the consequences.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

      Key                     Level 1              Level 2              Level 3             Level 4               Level 5
501                      Intentionally setting or attempting to set a fire or helping others to set a fire
Arson/Fire               without intent to or possibility of endangering others.
                                             Intentionally setting a fire or helping others to set a fire with the intent to
                                             endanger others or with the result of destroying valuable property.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 401
 P-1
 Attack on Adult - Physically striking an employee of the school system or other adult, including pushing or
 attacking a teacher/staff member who is intervening in a fight or other disruptive activity on school grounds or
 school property. Consideration would need to be made to the age, grade, developmental level, prior offenses,
 intentionality, and circumstances in determining an appropriate course of action and consequence.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

        Key                        Level 1               Level 2            Level 3            Level 4           Level 5
401                                                 Physically attacking an employee of the school system or other adult,
Attack on Adult                                     including intentionally striking a staff member who is intervening in a
                                                    fight or other disruptive activity.
 ●    Schools should consider multiple factors, including:
      o whether student acted in the heat of the moment, as opposed to planning ahead
      o whether student was verbally provoked
      o where student acting in self-defense
      o whether student was intervening in fight
      o the student’s age
      o whether fighting is persistent or habitual
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.




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 402
 P-1
 Attack on a Student - Physically pushing, hitting, or otherwise attacking another student. Consideration would
 need to be made to the age, grade, developmental level, prior offenses, intentionality, and circumstances in
 determining an appropriate course of action and consequence.
 (For incidents involving secondary students, the reporting of this incident to law enforcement authorities is required. Site administrators or
 their designee shall promptly notify the St. Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or
 by calling the sheriff’s dispatch number at 301-475-8008, requesting their response. The reporting of this incident shall be documented on
 St. Mary’s County Public Schools’ form PS 202A, Notification of School Incident to Law Enforcement.)

      Key                  Level 1              Level 2             Level 3              Level 4            Level 5
402                    Shoving, pushing, or otherwise being physically
Attack on a            aggressive toward another student.
Student                                   Engaging in an attack (which may be small,
                                          spontaneous, and short, and/or result only in minor,
                                          cuts, scrapes, bruises).
                                                               Intentionally engaging in an attack, which may be large,
                                                               pre-planned, extended, and/or resulting in major
                                                               injuries like a broken limb or otherwise especially
                                                               serious based on the listed factors.
 ●    Schools should consider multiple factors, including:
      o whether student acted in the heat of the moment, as opposed to planning ahead
      o whether student was verbally provoked
      o where student acting in self-defense
      o whether student was intervening in fight
      o the student’s age
      o whether fighting is persistent or habitual
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 502
 P-2
 Bomb Threats - The conveyance of threats or false information concerning the placement of explosive or
 destructive substances, initiating a report warning of a fire, or other catastrophe without cause in person through
 any format (written, verbal, and/or electronic). Misuse of 911. Discharging a fire extinguisher. Restitution may be
 required. Restitution may be in the form of monetary restitution not to exceed $2,500.00, or the student's
 assignment to a school work project, or both.
 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

     Key                       Level 1               Level 2           Level 3             Level 4                             Level 5
502                                              Making a bomb threat or threatening a school shooting.
Bomb Threats
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


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 707
 P-4
 Bullying - Intentional negative actions (written, verbal, electronic, or physical gestures) on the part of one or more
 students repeatedly and over time, that interfere with a student’s ability to participate in or benefit from the
 school’s educational programs (because of a hostile educational environment).

       Key                Level 1            Level 2             Level 3             Level 4              Level 5
707                                      Engaging in persistent bullying including cyberbullying.
Bullying
 ●   Schools should emphasize intervention strategies over removal strategies.
 ●   Apply extended suspension and expulsion only to grades 6-12.
 ●   Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
     designee must contact the Department of Student Services within two (2) days of the alleged offense to request
     an expulsion conference.


 101
 P-5
 Class Cutting - Unlawfully absent from a class or a school activity.

      Key                 Level 1             Level 2              Level 3            Level 4             Level 5
101                 Failing to attend
Class Cutting       a class, after
                    arrival at school,
                    without an
                    excused reason.

                    Persistently failing to attend a scheduled class, after
                    arrival at school, without an excused reason.




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 806
 P-2
 Destruction of School/Bus Property - Damage, destruction, or defacement of property belonging to the school or
 others.

 Restitution is to be made. The restitution may be in the form of monetary restitution not to exceed the lesser of the
 fair market value of the property or $2,500.00 or the student’s assignment to a school work project, or both.
 (Maryland Law § 7-305(h) and COMAR 13A.08.01.11.D)

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement and on the “Report of Damages/Property Loss or Theft to School Buildings and
 Grounds.)

      Key                     Level 1             Level 2             Level 3              Level 4         Level 5
806                      Causing
Destruction of           accidental
School/Bus               damage.
Property                 Intentionally causing damage to school/other’s
                         property.
                                             Intentional causing damage to school/other’s property, where the act is
                                             especially serious based on the listed factors.
 ●    Schools should consider the following factors:
      o the monetary value of the destroyed property.
      o whether student knew the property was valuable or expensive to replace.
      o whether student acted in the heat of the moment, as opposed to planning ahead.
      o the student’s age.
      o the reason student destroyed the property.
      o whether the behavior is persistent/habitual.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 701
 P-4
 Disrespect - Making inappropriate or offensive gestures, symbols, and/or comments to teachers, staff members,
 or others in any format (written, verbal, and/or electronic).

       Key                   Level 1             Level 2             Level 3           Level 4                                 Level 5
701                    Making intentional and harmful
Disrespect             gestures, verbal or written
                       comments, or symbols to others
                       (e.g., verbal put-downs, cursing,
                       talking back)
                                           Being insubordinate: repeatedly or persistently
                                           disrespectful, in defiance of authority.




                                                                                                                  Exhibit C - 49
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 704
 P-4
 Disruption - Behavior that interferes with the learning of others in a classroom and/or other learning
 environment.

      Key                Level 1               Level 2            Level 3             Level 4             Level 5
704                Intentionally
Disruption         engaging in
                   minor behavior
                   distracting from
                   the learning
                   environment.
                   Intentionally and persistently engaging in minor
                   behavior that distracts from the learning environment
                   (e.g., talking out of turn, throwing small items,
                   horseplay).
                   Intentionally engaging in moderate to serious behavior that distracts from
                   teaching and learning, and directly affects the safety of others (e.g.,
                   throwing harmful items, disrupting a fire drill).


 808
 P-5
 Dress Code - Failure to comply with policy governing attire set by the local board of education.

      Key                Level 1             Level 2             Level 3            Level 4               Level 5
808                 Violating dress
Dress Code          code, after
                    student has been
                    warned.
                    Persistently violating dress code after student has been
                    warned.




                                                                                              Exhibit C - 50
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 203
 P-2
 Drugs/Controlled Dangerous Substances - Possession, use or showing evidence of use of controlled dangerous
 substances including prescription drugs, look-alike drugs, and substances represented as controlled substances,
 drug paraphernalia, or any other dangerous substance. A student may self carry a medication if documentation is
 on file and approved by school officials for the current school year (see Policy JHH and Regulation JHH-R for
 extended definitions).

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

       Key                    Level 1            Level 2              Level 3           Level 4                                Level 5
203                       Being under the influence of illegal drugs and/or possession of illegal drugs.
Drugs/Controlled
Dangerous
Substances
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 205
 P-2
 Drugs/Controlled Dangerous Substances - Evidence of the intent to sell, give, deliver, or distribute controlled
 dangerous substances including prescription drugs, look-alike drugs, substances represented as controlled
 dangerous substances; or drug paraphernalia.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

       Key                     Level 1              Level 2                Level 3                Level 4                   Level 5
205                                                                                                                Distributing/Selling
Drugs/Controlled                                                                                                   illegal drugs.
Dangerous
Substances
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: The school administrator or designee must contact the Department of Student Services within two (2)
      days of the alleged offense to request an expulsion conference (grades 6-12).




                                                                                                                  Exhibit C - 51
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 503
 P-2
 Explosives - Possession, sale, distribution, detonation, or threat of detonation of an incendiary or explosive
 material or device including firecrackers, smoke bombs, flares, or any combustible or explosive substance or
 combination of substances or articles other than a firearm.

                                                             503 - Explosives
     Examples include, but are not limited to:
     Bullet                   Exploding pen                Gun shells                       Molotov cocktail           Smoke bomb
     Cherry bomb              Firecrackers                 M-80                             Poppers                    Stink bomb
     Dry ice in bottle        Gas Odor Bomb                Model rocket fuel                Shotgun shell

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

      Key                      Level 1           Level 2              Level 3             Level 4             Level 5
503                      Possessing an incendiary or explosive device or material or any combination of combustible or
Explosives               explosive substances, other than a firearm, that can cause harm to people or property (e.g.,
                         firecrackers, smoke bombs, flares; but NOT “snap pops,” which should be treated as a
                         disruption).
                                                                                     Detonating or threatening to
                                                                                     detonate an incendiary or explosive
                                                                                     device or material, including those
                                                                                     described above.
 ●     Apply extended suspension and expulsion only to grades 6-12.
 ●     Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
       designee must contact the Department of Student Services within two (2) days of the alleged offense to request
       an expulsion conference.


 406
 P-3
 Extortion - The process of obtaining property from another, with or without that person’s consent, by a wrongful
 use of force, fear, or threat.

       Key                     Level 1               Level 2             Level 3            Level 4                            Level 5
406                                              Engaging in extortion: Using a threat (without a
Extortion                                        weapon) to get a person to turn over property.
                                                 Engaging in persistent extortion.
 ●     Schools may conduct a threat assessment.
 ●     Apply extended suspension and expulsion only to grades 6-12.
 ●     Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
       designee must contact the Department of Student Services within two (2) days of the alleged offense to request
       an expulsion conference.




                                                                                                                  Exhibit C - 52
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 504
       P-2
       False Alarms - Other than bomb threats

           Key              Level 1              Level 2            Level 3               Level 4           Level 5
504                                        Initiating a warning of a fire or other catastrophe without cause (e.g.,
False Alarms                               pulling a fire alarm or misusing 911).
 ●     Apply extended suspension and expulsion only to grades 6-12.
 ●     Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
       designee must contact the Department of Student Services within two (2) days of the alleged offense to request
       an expulsion conference.

 405
 P-1
 Fighting - A physical confrontation involving two (2) or more students.

                                       Guidelines for Police Intervention in a Fight
     Each incident is to be investigated. Administrators will need to make a final decision as to whether or not to call
     the police.* If the police are to be involved, they must be called in a timely manner (preferably in a 24 hour
     period). The following guidelines are to be used with discretion in making the decision to contact the police.
           Student(s) has obvious injury that may require medical attention.
           Student(s) refuses to respond to authority and escalates aggressive behavior upon initial separation.
           Student(s) turns anger on staff with words or physically assaults staff during the fight.
           Student(s) is a repeat offender, within the current school year. Notify police that student is a repeat
            offender.
           Student(s) uses an object that has the potential to cause injury during the fight.
     *If the site administrator does not request police intervention, the parent(s)/legal guardian(s) maintains the
     prerogative to report the incident to the police and file charges.

      Key                   Level 1              Level 2            Level 3               Level 4           Level 5
405                   Intentionally shoving, pushing, or otherwise being
Fighting              physically aggressive toward another in the context of a
                      fight (e.g., body check; intentionally bumping).
                      Intentionally engaging in a fight (which may be small, spontaneous, and
                      short, and/or result only in minor, cuts, scrapes, bruises).
                                           Intentionally engaging in a fight, which may be large, pre-planned,
                                           extended, and/or resulting in major injuries like a broken limb or otherwise
                                           especially serious based on the listed factors.
 ●     Schools should consider multiple factors, including:
       o whether student acted in the heat of the moment, as opposed to planning ahead
       o whether student was verbally provoked
       o where student acted in self-defense
       o whether student was intervening in fight
       o the student’s age
       o whether fighting is persistent or habitual
 ●     Apply extended suspension and expulsion only to grades 6-12.
 ●     Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
       designee must contact the Department of Student Services within two (2) days of the alleged offense to request
       an expulsion conference.


                                                                                                 Exhibit C - 53
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 301
 P-2
 Firearms - Bringing or possessing any firearm, such as a rifle, handgun, shotgun, loaded or unloaded, operable or
 inoperable, and bombs. (See Policy JFDI for extended definitions.)

                                       301 - Firearms (as defined in 18 U.S.C. §921)
     Examples include, but are not limited to:
       Bomb                         Handgun                          Rifle                            Shotgun
       Grenade                      Missile                          Rocket                           Starter Pistol

     REMINDER: Federal report has 3 categories:
     1) handguns
     2) rifles/shotguns
     3) other firearms (e.g., bombs, grenades, rockets, and starter pistols)

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

    Key                Level 1                 Level 2                 Level 3                 Level 4                 Level 5
301                                                                                                              Possession a
Firearms                                                                                                         firearm, as
                                                                                                                 defined in
                                                                                                                 18.U.S.C. § 921.
                                                                                                                 (e.g., handgun).
 ●    Level 5: The school administrator or designee must contact the Department of Student Services within two (2)
      days of the alleged offense to request an expulsion conference.


 703
 P-1
 Harassment - Intentional conduct, including physical conduct or verbal, written, or electronic communication, that
 creates a hostile educational environment by substantially interfering with a student’s physical or psychological
 well-being and is (1) motivated by an actual or perceived personal characteristic (including race, national origin,
 marital status, sex, sexual orientation, gender status, or physical or mental ability or disability; or (2) is threatening
 or seriously intimidating. Conduct must occur on school property, at a school activity or event, or on a school bus,
 or must substantially disrupt the orderly operation of a school.

      Key                    Level 1           Level 2                         Level 3             Level 4             Level 5
703                      Engaging in harassment.
Harassment




                                                                                                                  Exhibit C - 54
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 802
 P-5
 Inappropriate Use of Personal Electronics - Unauthorized or inappropriate use of any electronic device carried,
 worn, or transported by a student on school property to receive or communicate messages.

        Key                   Level 1              Level 2            Level 3                          Level 4                 Level 5
802                      Having out a
Inappropriate            personal
Use of Personal          electronic
Electronics              device, after
                         student has been
                         warned.
                         Persistently having out a personal electronic device, in
                         defiance of school rules.
 ●    Devices include, but not limited to cell phones, PDAs, music players (e.g., iPods), electronic gaming devices,
      and other portable communication devices.


 202
 P-5
 Inhalants - Possession, use, or showing evidence of use, sale, or distribution of any inhalants or other intoxicants.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

      Key                     Level 1            Level 2            Level 3            Level 4                                 Level 5
202                      Being under the influence of inhalants and/or possessing inhalants.
Inhalants                Distributing/selling inhalants.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.




                                                                                                                  Exhibit C - 55
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 302
 P-2
 Other Guns - Bringing or possessing any gun, of any kind, loaded or unloaded, operable or inoperable including
 any object which is a look-alike of a gun, in school or on school grounds other than a firearm. Consideration
 would need to be made to the age, grade, developmental level, prior offenses, intentionality, and circumstances in
 determining an appropriate course of action and consequences. (See Policy JFDI for extended definitions.)

                                                              302 - Other Guns
       Examples include, but are not limited to:
       Air Soft Gun                     Flair Gun                        Paint Ball Gun                   Pellet Gun
       BB Gun                           Nail Gun                         Paint Gun
       Look-alike Guns: Water Gun (looks real) - Cap Gun (look-alike)
       REMINDER: Toys that look like toys are toys, NOT WEAPONS.
       Code toys as “704 - Disruption.”
       Other toy guns that look real and should be identified as "look-alikes."

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

      Key                     Level 1             Level 2              Level 3            Level 4             Level 5
302                      Possessing, using, or threatening to
Other Guns               use a look-alike gun (e.g., water
                         guns).
                                             Possessing, using, or threatening to use an unloaded/inoperable non-
                                             firearm gun (e.g., pellet guns, BB guns).
                                                                 Possessing, using, or threatening to use a loaded/
                                                                 operable non-firearm gun.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.




                                                                                                                  Exhibit C - 56
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 303
 P-2
 Other Weapons - Possession of any implement which could cause or is intended to cause bodily harm, other than
 a firearm or other gun. Consideration would need to be made to the age, grade, developmental level, prior
 offenses, intentionality, and circumstances in determining an appropriate course of action and consequences. (See
 Policy JFDI for extended definitions.)

                                                            303 - Other Weapons
      Examples include, but are not limited to:
      Awl                              Hammer                          Pepper spray                     Steak knife
      Bowie knife                      Hypodermic needle               Pocket knife                     Swiss Army knife
      Box cutter                       Knife                           Poison                           Switchblade
      Brass knuckles                   Lock Blade knife                Razor                            Taser/Taser Gun
      Chemicals                        Metal knuckles                  Razor blade                      Throwing star
      Dart                             Metal pole                      Screwdriver                      Tool knife blade
      Exacto knife                     Nunchakus                       Sling Shot                       Wooden club
      Or any implement that is used with the intent to cause harm.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

      Key                 Level 1           Level 2              Level 3            Level 4             Level 5
303                    Possessing an implement that could potentially
Other Weapons          cause injury, without intent to use it as a weapon.
                                        Possessing an implement that could potentially
                                        cause injury with intent to use it as a weapon.
                                                            Using or threatening to use as a weapon an
                                                            implement that is likely to cause serious bodily harm.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.


 206
 P-6
 Over-the-Counter Medicines - Possession, use, and/or providing nonprescription medications.

    Key               Level 1          Level 2            Level 3            Level 4                                   Level 5
206                Unauthorized use/possession of nonprescription medication.
Over-the-
Counter                                  Providing nonprescription medication.
Medicines




                                                                                                                  Exhibit C - 57
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 408
 Serious Bodily Injury - Intentional cause of bodily injury to others which involves: (a) substantial risk of death;
 (b) extreme physical pain, (c) protracted and obvious disfigurement, or (d) protracted loss or impairment of a
 function of a bodily member, organ, or mental faculty.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

    Key                Level 1                 Level 2                Level 3            Level 4                       Level 5
408                                                              Misbehaving in a way that
Serious                                                          unintentionally causes serious
Bodily                                                           bodily injury.
Injury                                                                                                           Causing serious
                                                                                                                 bodily injury.
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: The school administrator or designee must contact the Department of Student Services within two (2)
      days of the alleged offense to request an expulsion conference (grades 6-12).

 603
 P-4
 Sexual Activity - Inappropriate behavior of a sexual nature including indecent exposure, inappropriate texts of a
 sexual nature, consensual sexual activity, or other sexual activity not identified as sexual assault or harassment.

    Key                 Level 1              Level 2              Level 3              Level 4           Level 5
603                                      Engaging in inappropriate behavior of a sexual nature (e.g., indecent
Sexual                                   exposure, inappropriate texts of a sexual nature).
Activity
 ●    Apply extended suspension and expulsion only to grades 6-12.
 ●    Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
      designee must contact the Department of Student Services within two (2) days of the alleged offense to request
      an expulsion conference.

 601
 P-4
 Sexual Assault - Any unwelcome sexual contact, either directly or through clothing, which is committed by threat,
 or by force, and without the consent of the other person, including but not limited to a physical sexual attack on an
 adult or a student. The ranges of behaviors include but are not limited to: deliberate inappropriate touching/
 pinching/ grabbing of a sexual nature, attempted rape, or rape. Consideration would need to be made to the age,
 grade, developmental level, prior offensives, intentionality, and circumstances in determining an appropriate
 course of action and consequences.

 (Reporting of this incident to law enforcement authorities is required. Site administrators or their designee shall promptly notify the St.
 Mary’s County Sheriff’s Office through direct contact with an assigned school resource officer or by calling the sheriff’s dispatch number at
 301-475-8008, requesting their response. The reporting of this incident shall be documented on St. Mary’s County Public Schools’ form PS
 202A, Notification of School Incident to Law Enforcement.)

    Key                 Level 1                 Level 2                Level 3             Level 4          Level 5
601                                                               Intentionally engaging in behavior toward another that
Sexual                                                            is physical, sexual aggressive
Assault




                                                                                                                  Exhibit C - 58
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 ●   Apply extended suspension and expulsion only to grades 6-12.
 ●   Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
     designee must contact the Department of Student Services within two (2) days of the alleged offense to request
     an expulsion conference.

 602
 P-4
 Sexual Harassment - Unwelcome sexual advances, requests for sexual favors, and/or other inappropriate (verbal,
 written/electronic; implicit or explicit) or physical conduct of a sexual nature directed towards others. (See Policy
 JFDH for extended definitions.) Also included is any non-consensual touching of a sexual nature that does not rise
 to a level of sexual assault. Consideration would need to be made to the age, grade, developmental level, prior
 offensives, intentionality, and circumstances in determining an appropriate course of action and consequences.

     Key              Level 1           Level 2              Level 3             Level 4           Level 5
602                                 Engaging in sexual harassment (e.g., intentional unwelcome sexual
Sexual                              advances, requests for sexual favors, other intentional inappropriate
Harassment                          verbal, written, or physical conduct of a sexual nature).
 ●   Mediation can not be used.
 ●   Apply extended suspension and expulsion only to grades 6-12.
 ●   Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
     designee must contact the Department of Student Services within two (2) days of the alleged offense to request
     an expulsion conference.


 102
 P-5
 Tardiness - Late to school or class.

     Key                Level 1             Level 2            Level 3         Level 4             Level 5
102               Arriving late
Tardiness         more than once
                  to class or school,
                  without an
                  excused reason.
                  Persistently arriving late to class or school.
 ●   Elementary school students who are late should not be given any punitive or exclusionary consequences, but
     parent(s)/legal guardian(s) should be notified.




                                                                                               Exhibit C - 59
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 803
 P-6
 Theft - Taking or obtaining property of another without their permission and knowledge, including identity theft.
 (Full restitution is to be made.)

     Key           Level 1           Level 2             Level 3            Level 4                Level 5
803            Taking property without owner’s permission.
Theft                                              Taking property without owner’s
                                                   permission, where the theft is
                                                   especially serious based on the
                                                   listed factors.
 ●   Schools should consider multiple factors, including:
     o the monetary value of the property
     o whether student knew the property was valuable or expensive to replace
     o whether student acted in the heat of the moment, as opposed to planning ahead
     o the student’s age
     o the student’s purpose in taking the property
     o whether the behavior is persistent/habitual


 403
   P-1
   Threat to Adult (Verbal or Physical) - Threatening or aggressive language (verbal or written/electronic;
   implicit or explicit) or physical gestures directed toward a teacher, staff member, or others adult. (Threat
   assessment may be necessary.)

    Key             Level 1           Level 2              Level 3              Level 4             Level 5
403                               Expressing - orally, in writing, or by gesture - intent to do physical harm.
Threat to                                             Engaging in persistent threat.
Adult
 ●   Schools may conduct a threat assessment.
 ●   A mandatory re-entry conference must be held with the student, parent(s)/legal guardian(s), and principal or
     designee present. The involved staff member must be invited to attend. Additionally, a student behavior
     contract must be developed and made available to the teacher, prior to the re-entry of the student into the
     classroom.
 ●   Apply extended suspension and expulsion only to grades 6-12.
 ●   Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
     designee must contact the Department of Student Services within two (2) days of the alleged offense to request
     an expulsion conference.




                                                                                               Exhibit C - 60
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 404
       P-1
       Threat to Student (Verbal or Physical) - Threatening or aggressive language (verbal, written/electronic;
       implicit or explicit) or physical gestures directed toward another student. This includes any threats that create
       a hostile education environment. (Threat assessment may be necessary.)

     Key             Level 1              Level 2              Level 3             Level 4           Level 5
404              Expressing - orally, in writing, or by gesture - intent to do physical harm.
Threat to                            Engaging in persistent threat.
Student
 ●     Schools may conduct a threat assessment.
 ●     Apply extended suspension and expulsion only to grades 6-12.
 ●     Level 5: If the school administrator decides to request an expulsion conference, the school administrator or
       designee must contact the Department of Student Services within two (2) days of the alleged offense to request
       an expulsion conference.


 204
 P-2
 Tobacco or Tobacco Products - Possession, use, sale, or distribution of tobacco, tobacco products, and/or devices
 (e.g., cigarette lighters, e-cigarettes, vaporizers, and matches).

    Key             Level 1           Level 2                 Level 3             Level 4            Level 5
204             Using/possession tobacco/e-cigarettes.
Tobacco




 804
 P-6
 Trespassing - Unauthorized presence on school property, including while on suspension, after having oral or
 written warning to leave or not to appear on such.

    Key               Level 1            Level 2             Level 3            Level 4              Level 5
804                                  Unauthorized presence on school property, including
Trespassing                          while on suspension, after having oral or written
                                     warning to leave or not to appear on such.


 103
 P-2
 Truancy - Unlawfully absent from school or classes for a school day or a portion of the school day.

    Key                 Level 1               Level 2           Level 3           Level 4            Level 5
103              Being absent from
Truancy          school without an
                 excused reason.
                 Being truant.
 ●     Elementary school students who are late should not be given any punitive or exclusionary consequences, but
       parent(s)/legal guardian(s) should be notified.




                                                                                                 Exhibit C - 61
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                                      TRANSPORTATION - BUS BEHAVIOR


 BUS
 P-5
 Bus Misbehavior - Standing, distracting the driver, running on bus, eating on bus, too loud or boisterous, sitting
 in wrong seat, throwing or shooting objects, spraying perfumes and other aerosols or using foul or abusive
 language. For more serious infractions on the bus, discipline will include at least the appropriate minimum
 consequences for the code violation. Except for students with an Individualized Education Program (IEP)
 providing for transportation as a related special education service, riding the school bus is a privilege extended to
 students - a privilege which may be temporarily denied or suspended when a student’s behavior jeopardizes the
 safe operation of the school bus or the safety of the students riding the bus.

     Key                  Level 1             Level 2              Level 3             Level 4               Level 5
Bus                  Reminders/          Parent/Legal        Short term           Long-Term            Extended or
Misbehavior            Redirection        Guardian            Suspension of        Suspension of        Permanent Loss
                     Seat Change          Contact             School Bus           School Bus           of School Bus
                     Verbal              Restitution          Riding               Riding               Riding Privileges
                       Correction        Detention            Privileges (1-3      Privileges           (11 or more days)
                                         Written              days)                (4-10 days)
                                          Reflection/        Parent/Legal
                                          Apology             Guardian
                                                              Conference
                                                             Restitution
                     Failing to follow the bus rules/bus
                     driver’s direction
                                         Repeatedly failing to follow the bus
                                         rules/bus driver’s direction
                                                                                Chronically failing to follow the bus
                                                                                rules/bus driver’s direction
                     Engaging in behavior that places the safety of someone or the bus at risk

 ●   Interventions from lower levels may be assigned.
 ●   10+ days suspension of bus privileges. The elementary schools accountability officer or the secondary schools
     accountability officer must approve revocation of bus privileges for more than 10 days.



                                         HEALTH RELATED EXCLUSIONS


 001
 Immunization - Failure of the parent(s)/ legal guardian(s) to abide by the health regulations regarding
 immunization schedules or failure to provide evidence of appropriate immunizations. (See Policy JH for expanded
 definitions.)

 002
 Personal Health - Conditions that present a clear and direct health risk to others. (See Policy JHCI for expanded
 definitions.) (This code may not be applied to students with poor hygiene or any other personal health concern.
 Refer instead to the school nurse.)




                                                                                               Exhibit C - 62
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Appendix 1 - Parents/Legal Guardians and Physician/Prescriber Authorization –
              Medication Orders - PS 109

Appendix 2 - Student Health Information - PS 124

Appendix 3 - Parental “Opt Out" Form

Appendix 4 - Student Dress Code

Appendix 5 - Acceptable Use of Computer Systems - Guidelines for Students

Appendix 6 - FERPA/PPRA

Appendix 7 - Bullying, Harassment, or Intimidation Reporting Form

Appendix 8 - Gang-Related Incident Reporting Form

Appendix 9 - System Operational Calendar - 2016-2017

Appendix 10 - School Session Schedule




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                                                        Exhibit C - 64
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                                    ST. MARY’S COUNTY PUBLIC SCHOOLS
                            Department of Student Services/St. Mary’s County Health Department

        PARENT(S)/LEGAL GUARDIAN(S) AND PHYSICIAN/PRESCRIBER AUTHORIZATION - MEDICATION ORDERS

This order is valid only for school year (current)                                                including the summer session.

School:

This form must be completed fully in order for schools to administer the required medication. A new medication administration form
must be completed at the beginning of each school year for each medication, and each time there is a change in dosage, type,
time, and route administration of a medication.
          Prescription medication must be in a container labeled by the pharmacist or prescriber.
          Non-prescription medication must be in the original container with the label intact.
          An adult must bring the medication to the school.
          The school nurse (RN) will call the prescriber, as allowed by HIPAA, if a question arises about the child and/or the child’s
           medication.
                                                             Prescriber’s Authorization

Name of Student:                                                             Date of Birth:                                     Grade:
Condition for Which Medication is Being Administered:
Medication Name:                                                       Dose:                                 Route:
Time/Frequency of Administration:                                                                 If PRN, Frequency:
If PRN, for What Symptoms:
Relevant Side Effects:  None Expected                         Specify:
Duration of Administration:
Prescriber’s Name/Title:
                                             (Type or Print)
Telephone:                                     FAX:
Address:


Prescriber’s Signature:                                            Date:
                                (Original signature or signature stamp ONLY)                                (Use for Prescriber’s Address Stamp)
A verbal order was taken by the school RN (Name):                                      for the above medication on (Date):                        .
A verbal order was taken by the school LPN (Name):                                     for the above medication on (Date):                        .

                 Self Carry/Self Administration of Emergency Medication Authorization/Approval
Self carry/self administration of emergency medication may be authorized by the prescriber and must be approved by
the school nurse according to the State medication policy.
Prescriber’s authorization for self carry/self administration of emergency medication:
                                                                                                                 Signature                 Date
School RN approval for self carry/self administration of emergency medication:
                                                                                                                 Signature                 Date


Order reviewed by the school RN:
                                                                Signature                                                       Date

Note:      A non-nursing person may administer medication(s). If possible, arrange time of dosage so that medication(s) will not have to be given
           while the child is in school. School hours vary with each school.

PS 109 - 07/2013 - Parent(s)/Legal Guardian(s) and Physician/Prescriber Authorization - Medication Orders - page 1 of 2 pages




                                                                                                                         Exhibit C - 65
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     PARENT(S)/LEGAL GUARDIAN(S) AND PHYSICIAN/PRESCRIBER AUTHORIZATION - MEDICATION ORDERS
                                           (CONTINUED)

                        ***This section to be completed by the parent(s)/legal guardian(s).***


Name of Student:

          I/We request designated school personnel to administer the medication as prescribed by the prescriber. I/We
certify that I/we have legal authority to consent to medical treatment for the student named above, including the
administration of medication at school.

          I/We understand that it is my/our responsibility to furnish this medication.

          I/We further understand that any school employee who administers any drug to my/our child, in accordance
with written instructions from the prescriber and St. Mary's County Public Schools, shall not be liable for damages as a
result of an adverse drug reaction suffered by my/our child due to the administration of the drug.

        I/We understand that at the end of the school year, an adult must pick up the mediation, otherwise it will be
discarded.

          I/We authorize the school nurse to communicate with the health care provider as allowed by HIPAA.



Parent(s)’/Legal Guardian(s)’ Signature:                                                                           Date:



Note:     When this form is complete and signed by the physician and parent(s)/legal guardian(s), return it to the school
          nurse at your child's school along with the prescribed medication in the original pharmacy container. Thank
          you.




PS 109 - 07/2013 - Parent(s)/Legal Guardian(s) and Physician/Prescriber Authorization - Medication Orders - page 2 of 2 pages




                                                                                                                         Exhibit C - 66
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                                      ST. MARY’S COUNTY PUBLIC SCHOOLS
                              Department of Student Services/St. Mary’s County Health Department

                                                   STUDENT HEALTH INFORMATION

Dear Parent(s)/Legal Guardian(s):
     Completion of the following questionnaire will be helpful in assuring optimal learning in school. If a health problem is present, it
is important that the school nurse is informed as soon as possible. School health information is available to the school nurse and to
appropriate school personnel working with the student or with a need to know. This form will be kept in the student's health record.
    Thank you.
                                                                                        Date:

Name of Student:                                                                                           D.O.B.:
Address:
School:                                                                                                     Grade:
Parent: Mother's Name:                                              Home Phone:                            Work Phone:
          Father's Name:                                            Home Phone:                            Work Phone:

Name/Phone Number Of Person To Call In An Emergency If Unable To Reach Parent:
Name Of Student's Doctor:                                                                       Date Of Last Physical:
Date Of Last Visit:                           Why:
Name Of Student's Dentist:                                                                      Date Of Last Exam:

Check if the student has any of the following health problems:

_____   Allergies (                                       )         _____ Hearing Problem              _____     Height/Weight Problem
_____   Anemia                                                      _____ Vision Problem               _____     Nutritional Problem
_____   Asthma                                                      _____ Dental Problem               _____     Orthopedic Problem
_____   Cancer                                                      _____ Emotional Problem            _____     Reproductive Problem
_____   Cerebral Palsy                                              _____ Behavioral Problem           _____     Neurological Problem
_____   Diabetes                                                    _____ Heart Problem                _____     Seizures

Remarks: Please explain any item checked.



Check if the student has a history of any of the following:
_____    Severe Injury      _____ Meningitis            _____    Head Injury       _____ Substance Abuse (Alcohol/Illegal Substances)
_____    Hospitalizations (Where/When/Why):
Remarks: Please explain any item checked.



Does the student take medication? ( ) Yes     ( ) No                 If yes, give name/dosage of medication(s):
Does the student wear glasses? ( ) Yes    ( ) No                     Does the student wear a hearing aid? ( ) Yes        ( ) No
Is there anything more about this student's health that you think is important for us to know? If so, explain.



Would you like to schedule a conference to discuss your student's health with the school nurse? ( ) Yes        ( ) No


                                                                               Parent(s)’/Legal Guardian(s)’ Signature

PLEASE FOLD AND RETURN TO THE SCHOOL NURSE.

PS 124 - 07/2013 - Student Health Information



                                                                                                                 Exhibit C - 67
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                     This form only needs to be returned if you do NOT want your child to participate in one or more of
                                              the specific information disclosures listed below.

                                             PARENTAL “OPT OUT” FORM
                            St. Mary’s County Public Schools - Department of Student Services
                    Participate.
Use of Student Images and Likenesses in Public Information Programs
As part of our overall educational program, students are occasionally asked to be photographed or videotaped or have their work
displayed. Unless indicated to the contrary below, the school will assume that your child may be photographed or videotaped by the
news media or by SMCPS staff, and that the student’s likeness (including yearbook), name (including honor roll), performance,
artwork, or written work may be used.
Do NOT use in print, broadcast media, or on the Internet □ ______ (initial)
SMCPS cannot control photography, taping, or interviews of students at events that are open to the public, nor decisions by the news
media to post school news on the Internet.

Use of Computer Systems
SMCPS recognizes that use of electronic resources is an appropriate instructional tool. In accordance with the SMCPS Acceptable
Use Standards and the Children’s Internet Protection Act (CIPA), SMCPS utilizes filtering software in an attempt to block access to
objectionable material. Students will be supervised while using the Internet and will be instructed in the appropriate and safe use,
selections, and evaluation of information. Unless indicated to the contrary below, you agree to the SMCPS Acceptable Use of
Computer Systems guidelines found in the Student Handbook and Code of Conduct and your student may use SMCPS computers.
Do NOT agree to the SMCPS Acceptable Use Standards □ ______ (initial)

Military Recruitment (Grades 11 and 12 only)
Each public school under the jurisdiction of a county board of education that makes students aware of occupational or educational
options is required to provide student directory information to recruitment representatives of the United States military. If you, as a
parent/legal guardian DO NOT wish for your child’s name, address, and telephone number to be released to military recruitment
representatives, please check the space provided below.
Do NOT release contact information to military recruitment representatives □ ______ (initial)

SBIRT (Screening, Brief Intervention and Referral to Treatment) - Grades 6 - 12 only
SMCPS uses a screening tool (SBIRT) when a student may exhibit possible substance use. If possible use is indicated, the parent(s)/
legal guardian(s) will be notified and information about community resources will be provided.
SBIRT - May NOT participate □ ______ (initial)

Maryland YOUTH TOBACCO and RISK BEHAVIOR SURVEY (YTRBS) (Grades 6 - 12 only)
The Centers for Disease Control and Prevention (CDC) created the YTRBS to measure risk factors and to monitor the effectiveness of
risk reduction programs in collaboration with the Department of Health and Mental Hygiene (DHMH) and the Maryland State
Department of Education (MSDE). The survey is designed to identify risk behaviors that may include safety behaviors such as use of
helmets and seat belts; depression and mental health; use of tobacco, alcohol, or other drugs; nutrition and physical activity; and
sexual behaviors. During the school year, a random sampling of schools may be selected to participate in the survey. Unless
indicated below that your child MAY NOT participate in the survey, he/she may be given the survey if their school is included in the
random sample. Please consider the following factors as you make your decision: (1) your child’s participation in the YTRBS survey
is voluntary, (2) the YTRBS survey is confidential and your child’s answers will be kept private, and (3) your child’s name is not
required on the survey answer sheet. For more information about the YTRBS, please visit www.cdc.gov/HealthyYouth,
www.marylandpublicschoools.org or the CDC at (770) 488-6181 or the SMCPS Department of Student Services at 301-475-5511,
ext, 32150.
YTRBS - May NOT participate in this survey □ ______ (initial)

Student’s Name:                                                                                           School:
Parent’s/Legal Guardian’s Signature:                                                                      Grade:
Printed Name:                                                                                             Date:
Please complete a separate form for each student and return to your student’s school.
07/2015 - Parental “Opt Out” Form



                                                                                                             Exhibit C - 68
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                                      St. Mary’s County Public Schools
                                          STUDENT DRESS CODE

Standards for appropriate attire shall include the following:

Clothing and Accessories in General
    * Clothing displaying or suggesting profanity; sexual activity through graphic images, words, or innuendos;
        weapons; drugs/alcohol or drug paraphernalia; violence; or tobacco products may not be worn.
    * Clothing with identifiable gang/crew representation or paraphernalia may not be worn.
    * Suggestive or provocative clothing such as see-through clothing or shirts/blouses/dresses with low
        necklines which show cleavage may not be worn.
    * Official St. Mary's County Public Schools’ athletic uniforms may be allowed at the discretion of the coach.
    * Student dress for mixers (informal dances) must be in compliance with the Student Dress Code.

Head
   *    Hats/Headdresses may only be worn indoors with written notice to the school principal/designee for
        religious or health reasons.

Shirts and Blouses
    * Shirts and blouses should be continuous from the neckline to the waist of the pants/skirt/skort. Shirt
         straps should be at least two (2) inches wide over the shoulder or covered by a sweater, jacket, or other
         shirt and in any case, strapless shirts/blouses may not be worn. The midriff area (front, back, and sides)
         must not be visible at any time even when seated.
    * No undergarments should be exposed.
    * Shirts having large armholes and neck holes, such as muscle shirts, may not be worn.

Skirts and Dresses
    * Skirts, dresses, and spandex skirts should be approximately one (1) inch below the fingertips.
    * Dress straps should be at least two (2) inches wide over the shoulder or covered by a sweater, jacket, or
         other shirt and in any case, strapless dresses may not be worn.

Pants and Shorts/Skorts
   * Pants and shorts/skorts should be secured at waist: no sagging below waist to expose undergarments.
   * Tights, stretch pants, leggings, and spandex body suits must be worn with clothing which meet the
        skirt/dress directives.
   * Shorts/skorts should be approximately one inch below the fingertips.
   * Pajama pants may not be worn.

Shoes
   *    Shoes must be worn that are safe for all activities.
   *    Elementary school students must wear shoes that are secured behind the ankle.
   *    Shoes with wheels may not be worn.

Accessories
   * Jewelry, belts, chains, and other accessories that may be used as or look like a weapon or create a
       significant disruption may not be worn.
   * Studded accessories are not permitted.

It is recognized that age and maturity may be considered in determining the appropriateness of a student’s attire.
Appropriateness will be determined by the school principal/designee.




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                                                St. Mary’s County Public Schools
                                              Acceptable Use of Computer Systems
                                                     Guidelines for Students


St. Mary’s County Public Schools (SMCPS) recognizes             Responsibilities:
that access to and use of the Internet is an
appropriate tool for instruction. Precautions are taken         Students will:
to attempt to ensure that the Internet is a safe learning
environment for students.                                           Learn the SMCPS procedures for ethical, responsible,
                                                                     courteous, and legal use of computer systems.
In accordance with the SMCPS Network Usage Standards,
all use of the network and email communications must be in          Let a staff member know if inappropriate material is
support of education, research and professional usage that           found online.
is consistent with the purposes of St. Mary's County Public         Access only those network resources which align with
Schools.                                                             an instructional activity.

In accordance with the Children’s Internet Protection Act           Agree never to meet with anyone with whom they
(CIPA), SMCPS utilizes filtering software in an attempt to           have met while using the Internet without asking for
block access to objectionable material.                              permission from parents.
                                                                    Take precautions to protect school computer systems
Students will be supervised while using the Internet and will        from damage and/or theft.
be instructed in the appropriate and safe use, selections,
and evaluation of information.                                  Students shall not:

                                                                    Reveal personally identifiable information except in
                                                                     specific circumstances where prior written consent has
Violations:                                                          been given.
The use of computer systems in school and access to the
                                                                    Intentionally seek information (i.e. passwords, files,
Internet is a privilege. Consequences for unacceptable use
                                                                     settings) about other users, or misrepresent other
of the computer systems may result in the denial of access
                                                                     users on the network.
privileges and be held to the consequences in the Student
Code of Conduct.                                                    Destroy, modify, or abuse hardware and software in
                                                                     any way.
                                                                    Use the network to develop programs that harass
                                                                     other users, or to infiltrate a computer or computer
Internet Safety Resources:                                           system is prohibited. Hate mail, harassment,
                                                                     discriminatory remarks, and other antisocial behaviors
MD Attorney General’s C.L.I.C.K.S. Initiative (Community             are prohibited.
Leadership In Cyber Knowledge and Safety)
http://www.oag.state.md.us/clicks.htm                               Install illegal copies of copyrighted software on school
                                                                     computers.
NetSmartz: http://www.netsmartz.org/index.aspx
                                                                    Use the network to access obscene or pornographic
Kids Health Internet Safety:
                                                                     material is prohibited. Users cannot create, access,
http://kidshealth.org/parent/positive/family/net_safety.html
                                                                     download, store, or print files, messages, or images
SafeKids: http://www.safekids.com/                                   that are abusive, harassing, libelous, obscene,
                                                                     offensive, profane, pornographic, depict gang
FBI’s Parent’s Guide to Internet Safety:                             affiliation, threatening, sexually explicit, or illegal
http://www.fbi.gov/publications/pguide/pguidee.htm                   material or that violate the SMCPS Code of Student
WiredSafety:                                                         Conduct and/or any SMCPS policy.
http://www.wiredsafety.org/                                         Access online games without prior permission of a
                                                                     staff member.
                                                                    Circumvent and/or disable content filtering or other
                                                                     computer system protection measures.




                                                                                                   Exhibit C - 70
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                                       Notification of Rights under FERPA
                                      for Elementary and Secondary Schools
    The Family Educational Rights and Privacy Act (FERPA) affords parents and students who are 18 years of age
or older ("eligible students") certain rights with respect to the student's education records. These rights are:
    1. The right to inspect and review the student's education records within 45 days after the day the school
       receives a request for access.
      Parents or eligible students who wish to inspect their child’s or their education records should submit to the
      school principal [or appropriate school official] a written request that identifies the records they wish to
      inspect. The school official will make arrangements for access and notify the parent or eligible student of the
      time and place where the records may be inspected.
    2. The right to request the amendment of the student's education records that the parent or eligible student
       believes are inaccurate, misleading, or otherwise in violation of the student's privacy rights under FERPA.
      Parents or eligible students who wish to ask the school to amend their child’s or their education record
      should write the school principal [or appropriate school official], clearly identify the part of the record they
      want changed, and specify why it should be changed. If the school decides not to amend the record as
      requested by the parent or eligible student, the school will notify the parent or eligible student of the
      decision and of their right to a hearing regarding the request for amendment. Additional information
      regarding the hearing procedures will be provided to the parent or eligible student when notified of the
      right to a hearing.
    3. The right to provide written consent before the school discloses personally identifiable information (PII)
       from the student's education records, except to the extent that FERPA authorizes disclosure without consent.
      One exception, which permits disclosure without consent, is disclosure to school officials with legitimate
      educational interests. The criteria for determining who constitutes a school official and what constitutes a
      legitimate educational interest must be set forth in the school’s or school district’s annual notification for
      FERPA rights. A school official typically includes a person employed by the school or school district as an
      administrator, supervisor, instructor, or support staff member (including health or medical staff and law
      enforcement unit personnel) or a person serving on the School Board. A school official also may include a
      volunteer, contractor, or consultant who, while not employed by the school, performs an institutional
      service of function for which the school would otherwise use its own employees and who is under the direct
      control of the school with respect to the use and maintenance of PII from education records, such as an
      attorney, auditor, medical consultant, or therapist; a parent or student volunteering to serve on an official
      committee, such as a disciplinary or grievance committee; or a parent, student, or other volunteer assisting
      another school official in performing his or her tasks. A school official typically has a legitimate educational
      interest if the official needs to review an education record in order to fulfill his or her professional
      responsibility.
      Upon request, the school discloses education records without consent to officials of another school or school
      district in which a student seeks or intends to enroll, or is already enrolled if the disclosure is for purposes of
      the student's enrollment or transfer. [NOTE: FERPA requires a school or school district to make a reasonable
      attempt to notify the parent or student of the records request unless it states in its annual notification that it
      intends to forward records on request or the disclosure is initiated b the parent or eligible student.]
    4. The right to file a complaint with the U.S. Department of Education concerning alleged failures by the school
       to comply with the requirements of FERPA. The name and address of the Office that administers FERPA are:
                                          Family Policy Compliance Office
                                           U.S. Department of Education
                                            400 Maryland Avenue, SW
                                              Washington, DC 20202




                                                                                                Exhibit C - 71
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                                  Notification of Rights Under the Protection of Pupil
                                              Rights Amendment (PPRA)
PPRA affords parents of elementary and secondary students certain rights regarding the conduct of surveys, collection
and use of information for marketing purposes, and certain physical exams. These include, but not limited to, the right
to:
 Consent before students are required to submit to a survey that concerns one or more of the following protected areas
    ("protected information survey") if the survey is funded in whole or in part by a program of the U.S. Department of
    Education (ED)-
       1. Political affiliations or beliefs of the student or student's parent;
       2. Mental or psychological problems of the student or student's family;
       3. Sex behavior or attitudes;
       4. Illegal, anti-social, self-incriminating, or demeaning behavior;
       5. Critical appraisals of others with whom respondents have close family relationships;
       6. Legally recognized privileged relationships, such as with lawyers, doctors, or ministers;
       7. Religious practices, affiliations, or beliefs of the student or student’s parents; or
       8. Income, other than as required by law to determine program eligibility.
   Receive notice and an opportunity to opt a student out of-
       1. Any other protected information survey, regardless of funding;
       2. Any non-emergency, invasive physical exam or screening required as a condition of attendance, administered
           by the school or its agent, and not necessary to protect the immediate health and safety of a student, except for
           hearing, vision, or scoliosis screenings, or any physical exam or screening permitted or required under State
           law; and
       3. Activities involving collection, disclosure, or use of personal information collected from students for
           marketing or to sell or otherwise distribute the information to others. (This does not apply to the collection,
           disclosure, or use of personal information collected from students for the exclusive purpose of developing,
           evaluating, or providing educational products or services for, or to, students or educational institutions.)
   Inspect upon request and before administration or use-
       1. Protected information surveys of students and surveys created by a third party;
       2. Instruments used to collect personal information from students for any of the above marketing, sales, or other
           distribution purposes; and
       3. Instructional material used as part of the educational curriculum.
These rights transfer from the parents to a student who is 18 years old or an emancipated minor under State law.
St. Mary’s County Public Schools policies, in consultation with parents, regarding these rights, as well as arrangements to
protect student privacy in the administration of protected information surveys and the collection, disclosure, or use of
personal information for marketing, sales, or other distribution purposes.
St. Mary’s County Public Schools will directly notify parents of these policies at least annually at the start of each school
year and after any substantive changes. St. Mary’s County Public Schools will also directly notify, such as through U.S.
Mail or email, parents of students who are scheduled to participate in the specific activities or surveys noted below and
will provide an opportunity for the parent to opt his or her child out of participation of the specific activity or survey.
St. Mary’s County Public Schools will make this notification to parents at the beginning of the school year if the district
has identified the specific or approximate dates of the activities or surveys at that time. For surveys and activities
scheduled after the school year starts, parents will be provided reasonable notification of the planned activities and
surveys listed below and be provided an opportunity to opt their child out of such activities and surveys. Parents will
also be provided an opportunity to review any pertinent surveys. Following is a list of the specific activities and surveys
covered under this direct notification requirement:
 Collection, disclosure, or use of personal information collected from students for marketing, sales, or other
     distribution.
 Administration of any protected information survey not funded in whole or in part by ED.
 Any non-emergency, invasive physical examination or screening as described above.
                           Parents who believe their rights have been violated may file a complaint with:
           Family Policy Compliance Office, U.S. Department of Education, 400 Maryland Avenue, SW, Washington, D.C. 20202




                                                                                                            Exhibit C - 72
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                                      BULLYING, HARASSMENT OR INTIMIDATION REPORTING FORM
Directions: Bullying, harassment, and intimidation are serious and will not be tolerated. This is a form to report alleged bullying harassment,
or intimidation that occurred during the current school year on school property, at a school-sponsored activity or event off school property, on
a school bus, on the way to and/or from school*, or on the internet-sent on or off school property; or that substantially disrupted the orderly
operation of the school. Bullying, harassment and intimidation mean any intentional conduct, including verbal, physical or written conduct, or
an intentional electronic communication, that creates a hostile educational environment by substantially interfering with a student’s
educational benefits, opportunities or performance, or with a student’s physical or psychological well-being. The conduct must (1) be
motivated by an actual or a perceived personal characteristic including race, national origin, marital status, sex, sexual orientation, gender
identity, religion, ancestry, physical attributes, socioeconomic status, familial status, or physical or mental ability or disability, or (2) be
threatening or seriously intimidating. Electronic communication means communication transmitted by means of electronic device, including a
telephone, cellular phone, computer and pager. Conduct that is of a sexual nature is the most commonly reported form of sexual
harassment. This term is generally thought to mean actions, language or visual materials which specifically refer to, portray or involve sexual
activity or language. Conduct of a sexual nature may include overt sexual solicitations, inappropriate touching, sexual jokes and inquiries
about a person's sex life. Sexual harassment is the broader term that encompasses conducts of a sexual nature such as unwelcomed sexual
advances, requests for sexual favors, and other verbal or physical contact of a sexual nature. Sexual harassment also includes acts that are
not overtly sexual but rather are directed at individuals based on their gender such as profanity or rude behavior that is gender-specific.

If you are a student, the parent/guardian of a student, a close adult relative of a student, or a school staff member and wish to report an
incident of alleged bullying harassment, or intimidation, complete this form and return it to the Principal at the student victim’s school. You
may contact the school for additional information or assistance at any time.

(PLEASE PRINT ALL INFORMATION)

Today’s date: _________ / _________ / ___________              School: ______________________________________________
                 Month         Day           Year
                                                               School System: ________________________________________


PERSON REPORTING INCIDENT                           Name: ___________________________________________________

Telephone: ___________________________                E-mail: ___________________________________________________

Place an X in the appropriate box:  Student  Parent/guardian of a student  Close adult relative of a student  School Staff
                                        Bystander


1. Name of student victim(s): ________________________________________________ Age: _________ School ____________________
                             ________________________________________________ Age: _________ School ____________________
                             ________________________________________________ Age: _________ School ____________________

2. Name of alleged witness(es) (if known):
                                                                               Age:                 School
                                                                               Age:                 School
                                                                               Age:                 School

3. Name(s) of alleged offender(s) (if known):                               Age    School                              Is he/she a student?
___________________________________________                              _______ _______________________                   Yes  No
___________________________________________                              _______ _______________________                   Yes  No
___________________________________________                              _______ _______________________                   Yes  No

4. On what date(s) did the incident happen?:
_______ / ________/ _________           _______ / _______ / ________              _______ / ________/ _________
 Month      Day          Year            Month     Day        Year                 Month      Day       Year
Maryland State Department of Education in accordance with the Safe Schools Reporting Act of 2005                                      7-14
5. Place an X next to the statement(s) that best describes what happened (choose all that apply):



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    Any bullying, harassment, or intimidation that involves physical aggression
    Getting another person to hit or harm the student
    Teasing, name-calling, making critical remarks, or threatening, in person or by other means
    Demeaning and making the victim of jokes
    Making rude and/or threatening gestures
    Excluding or rejecting the student
    Intimidating (bullying), extorting, or exploiting
    Spreading harmful rumors or gossip
    Related to the student’s disability
    Related to the student’s perceived sexual orientation
    Cyber bullying (e.g. social media including Facebook, Twitter, Vine, Instagram, etc.)
    Electronic communication (e.g. email, text, sexting, etc.) _____________________________________________________________
    Gang related
    Gang recruitment
    Human trafficking/Prostitution recruitment
    Racial Harassment
    Sexual Harassment
    Sexual in nature
    Other (specify) _____________________________________________________________________________________________

6. Where did the incident happen (choose all that apply)?

   On school property             At a school-sponsored activity or event off school property
   On a school bus                On the way to/from school*         Via Internet- sent on or off school property
*Will be collected unless specifically excluded by local board policy

7. Describe the incident(s), including what the alleged offender(s) said or did. __________________________________________________
________________________________________________________________________________________________________________
________________________________________________________________________________________________________________
________________________________________________________________________________________________________________
                                                     (Attach a separate sheet if necessary)

8. Why did the bullying, harassment or intimidation occur? ________________________________________________________________
_______________________________________________________________________________________________________________
_______________________________________________________________________________________________________________

9. Did a physical injury result from this incident? Place an X next to one of the following:

    No                  Yes, but it did not require medical attention                  Yes, and it required medical attention

10. If there was a physical injury, do you think there will be permanent effects?  Yes  No

11. Was the student victim absent from school as a result of the incident?    Yes  No
    If yes, how many days was the student victim absent from school as a result of the incident? _________

12. Did a psychological injury result from this incident? Place an X next to one of the following:
    No        Yes, but psychological services have not been sought            Yes, and psychological services have been sought

13. Is there any additional information you would like to provide? ___________________________________________________________
________________________________________________________________________________________________________________
________________________________________________________________________________________________________________
________________________________________________________________________________________________________________
                                                     (Attach a separate sheet if necessary)
Signature: _________________________________________________________________ Date: ________________________

Maryland State Department of Education in accordance with the Safe Schools Reporting Act of 2005                                    7-14




                                                                                                                   Exhibit C - 74
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                                  GANG-RELATED INCIDENT REPORTING FORM
Directions: This is a form to report alleged gang activity and similar destructive or illegal group behavior or to report
reprisal or retaliation against individuals who report gang activity and similar destructive or illegal group behavior or who
are victims, witnesses, bystanders, or others with reliable information about an act of gang activity and similar destructive
or illegal group behavior which occurred on school property, on school buses, or at school-sponsored events.

Gang: “Criminal Gang” means a group or association of three or more persons whose members:
(1) individually or collectively engage in a pattern of criminal gang activity;
(2) have as one of their primary objectives or activities the commission of one or more underlying crimes,
including acts by juveniles that would be underlying crimes if committed adults; and
(3) have in common an overt or covert organizational or command structure.

Gang Activity: “Pattern of criminal gang activity” means the commission of, attempted commission of, conspiracy to
commit, or solicitation of two or more underlying crimes or acts by a juvenile that would be an underlying crime if
committed by an adult.
(a) Activities on or near school vehicles or property. - A person may not threaten an individual, or a friend or family
    member of an individual with use of physical force or violence to coerce, induce, or solicit the individual to
    participate in or prevent the individual from leaving a criminal gang: (1) in a school vehicle, as defined under §11-154
    of the Transportation Article; or (2) in, or within 1,000 feet of real property owned or leased to an elementary school,
    secondary school, or county board of education and used for elementary or secondary education.
(b) Applicability. - Subsection (a) of this section applies whether or not: (1) school was in session at the time of the
    crime; or (2) the real property was being used for purposes other than school purposes at the time of the crime.

Today’s date: _________ / _________ / ___________                   School:
                 Month            Day             Year
                                                                    School System:


PERSON REPORTING INCIDENT                        Name:

Telephone:                                       E-mail:

Place an X in the appropriate box:  Student                  Student (Witness/Bystander)       School Staff

 Other


1. Name of student victim:                                                                    Age:
                                         (Please print)

2. Name(s) of alleged offender(s) (If known): (Please print)              Age          School
   Is he/she a student? (if known)


           Yes  No

           Yes  No

           Yes  No
3. On what date(s) did the incident happen?
   _______ / ________/ _________          _______ / _______ / ________                       _______ / _____/ _____
      Month        Day     Year                           Month     Day         Year            Month      Day     Year




                                                                                                         Exhibit C - 75
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4. Please describe what occurred:




5. Where did the incident occur (choose all that apply)?
     On school property                     At a school-sponsored activity or event off school property
     On a school bus                        On the way to/from school*
  *Will be collected unless specifically excluded by local board policy

6. What did the alleged offender(s) say or do?




                                                   (Attach a separate sheet if necessary)


7. Why did the activity occur?



                                                   (Attach a separate sheet if necessary)


8. Did a physical injury result from this incident? Place an X next to one of the following:
     No              Yes, but it did not require medical attention                         Yes, and it required medical attention

9. If there was a physical injury, do you think there will be permanent effects?  Yes  No

10. Was the student victim absent from school as a result of the incident?    Yes  No
    If yes, how many days was the student victim absent from school as a result of the incident?

11. Did a psychological injury result from this incident? Place an X next to one of the following:
     No           Yes, but psychological services have not been sought  Yes, and psychological
                                                                                   services have been sought

12. Is there any additional information you would like to provide?




                                                   (Attach a separate sheet if necessary)

Signature:                                                                                        Date:


                                                                                                                   Exhibit C - 76
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                                                       St. Mary’s County Public Schools                      Approved 2-10-2016
                                                    System Operational Calendar 2016-2017
Boxed days indicate students are not in school.
Circled days indicate early dismissal.
               Month                             Event Date                                     Event Description
              July 2016                  July 4 ...............…….     Holiday - Independence Day - All Schools and Offices Closed
               August 2016                 August 1……………                11-Month Employees Report
   S    M    T     W      T    F     S
         1    2     3     4     5     6
                                           August 15-17……....           New Teachers’ Orientation
   7     8    9    10    11    12    13    August 18……..……              Professional Day - All Teachers Report
  14    15   16    17    18    19    20    August 19……..……              Professional Day - Classroom Preparation
  21    22   23    24    25    26    27    August 22……..……              Professional Day - Staff Development
  28    29   30    31
                                           August 23 …….……              Professional Day - Teachers on Duty
                                           August 24 …….……              Schools Open for Students
             September 2016
   S    M     T    W      T    F     S
                          1     2     3
                                           September 5….…….             Holiday - Labor Day - All Schools and Offices Closed
   4     5    6     7     8     9    10    September 20……....           Southern Maryland College Fair
  11    12   13    14    15    16    17    September 23 ...…....        Professional Day - No School for Students-Staff Development-
  18    19   20    21    22    23    24                                    Staff Collaborative Planning
  25    26   27    28    29    30          September 27....……           Two Hour Early Dismissal - No School for Head Start and Pre-
                                                                           Kindergarten Students - End of Interim Period -
                                                                           Professional Responsibilities - Head Start and
                                                                           PreKindergarten Parent Involvement Activities
              October 2016                 October 6…………..              Interim Distribution (Elementary Grades 3-5/Middle/High)
   S    M     T    W     T     F     S
                                      1
                                           October 10…………               Columbus Day - No School for Students - Parent/Guardian
   2    3     4     5    6      7     8    October 21…………                  Conference Day (Elementary/Middle/High)
   9    10   11    12   13     14    15                                 Professional Day - No School for Students - Staff Development
  16    17   18    19   20     21    22                                   - Professional Responsibilities - MSEA Convention
  23    24   25    26   27     28    29
  30    31

              November 2016
   S    M     T    W     T      F     S
                                           November 2……….               Two Hour Early Dismissal - No School for Head Start and
               1    2     3      4     5                                  PreKindergarten Students - End of 1st Marking Period (47 days) -
   6     7     8    9    10     11    12                                  Professional Responsibilities - Head Start and
  13    14    15   16    17     18    19                                  PreKindergarten Parent Involvement Activities
  20    21    22   23    24     25    26
                                           November 8………..              Recess - General Election Day - All Schools and Offices Closed
  27    28    29   30
                                           November 11……....            Holiday - Veterans Day - All Schools and Offices Closed
                                           November 15 ...…....         Report Card Distribution
                                           November 23………               Recess-No School for Students and 10 & 11 Month Employees
                                           November 24-25…...           Holiday – Thanksgiving – All Schools and Offices Closed


              December 2016
   S    M     T    W     T      F     S
                                           December 9 ……….              Two Hour Early Dismissal - No School for Head Start and
                          1      2     3                                  PreKindergarten Students - End of Interim Period - Staff
   4     5     6    7     8      9    10                                  Collaborative Planning - Professional Responsibilities - Head
  11    12    13   14    15     16    17                                  Start and PreKindergarten Parent Involvement Activities
  18    19    20   21    22     23    24
  25    26    27   28    29     30    31
                                           December 20……….              Interim Distribution (Elementary Grades 3-5/Middle/High)
                                           December 23….........        Winter Break - No School for Students and 10-11 Month
                                                    27-30……                Employees
                                           December 26……….              Holiday - Winter Break - All Schools and Offices Closed


               January 2017
  S     M     T     W     T     F     S
                                           January 2…...............    Holiday - Winter Break - All Schools and Offices Closed
   1     2     3     4     5     6     7   January 3…...............    Schools Reopen - Students in School
   8     9    10    11    12    13    14   January 16……..…...           Holiday - Martin Luther King, Jr. Day - All Schools and
  15    16    17    18    19    20    21                                  Offices Closed
  22    23    24    25    26    27    28   January 26………….              Two Hour Early Dismissal - No School for Head Start and
  29    30    31
                                                                          PreKindergarten Students - End of 2nd Marking Period (48 days)
                                                                          and 1st Semester (95 days) - Professional Responsibilities - Head
                                                                          Start and PreKindergarten Parent Involvement Activities
                                           January 27…………               Professional Day - No School for Students - Staff Development




                                                                                                                Exhibit C - 77
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                    Month                            Event Date                                         Event Description

               February 2017
    S    M     T    W      T       F    S
                                               February 7………….                Two Hour Early Dismissal - No School for Head Start and
                     1     2        3    4                                     PreKindergarten Students - Staff Collaborative Planning - Head
    5     6     7    8     9       10   11                                     Start and PreKindergarten Parent Involvement Activities -
   12    13    14   15    16       17   18                                     Report Card Distribution
   19    20    21   22    23       24   25
   26    27    28
                                               February 20………...              Holiday - Presidents’ Day - All Schools and Offices Closed
                                                                                (Possible Make-Up Day)


                 March 2017
    S    M     T     W     T       F    S
                                              March 1…………….                   Two Hour Early Dismissal - No School for Head Start and
                      1    2        3    4                                      PreKindergarten Students - End of Interim Period - Professional
    5     6     7     8    9       10   11                                      Responsibilities - Head Start and PreKindergarten Parent
   12    13    14    15   16       17   18                                      Involvement Activities
   19    20    21    22   23       24   25
   26    27    28    29   30       31        March 10…………….                   Interim Distribution (Elementary Grades 3-5/Middle/High)
                                             March 31……….........             Two Hour Early Dismissal - No School for Head Start and
                                                                               PreKindergarten Students - End of 3rd Marking Period (44
                                                                               days) - Professional Responsibilities - Head Start and
                                                                               PreKindergarten Parent Involvement Activities


                    April 2017
    S    M      T       W      T   F    S
                                              April 10-13………….                Spring Break - No School for Students and 10 & 11 Month
                                         1                                      Employees
    2     3     4        5     6    7    8    April 14……………..                 Holiday - All Schools and Offices Closed
    9    10    11       12    13   14   15    April 17……………..                 Holiday - All Schools and Offices Closed (Possible Make-Up Day)
   16    17    18       19    20   21   22
   23    24    25       26    27   28   29
                                              April 19…………….                  Report Card Distribution
   30                                         April 28……………..                 Professional Day - No School for Students - Staff Collaborative
                                                                               Planning - Articulation Day - Professional Responsibilities -
                                                                               (Possible Make-Up Day)

                    May 2017
    S    M     T       W     T     F    S
                                              May 10…………….                    End of Interim Period
          1     2       3     4     5    6    May 19……………..                   Interim Distribution (Elementary Grades 3-5/Middle/High)
    7     8     9      10    11    12   13    May 29…….…….....                Holiday - Memorial Day - All Schools and Offices Closed
   14    15    16      17    18    19   20    May 31…………….                    Commencement - Great Mills High School
   21    22    23      24    25    26   27
   28    29    30      31


                  June 2017
    S    M      T    W      T      F    S
                                             June 1……………….
                                                    Commencement - Chopticon High School
                            1       2    3   June 2……………….
                                                    Commencement - Leonardtown High School
    4   5       6     7     8       9   10   June 12……………...
                                                    Last Day for Head Start and PreKindergarten Students
   11  12      13    14     15     16   17   June 13 & 14………..
                                                    Two Hour Early Dismissal - No School for Head Start and
   18  19      20    21     22     23   24            PreKindergarten Students - Professional Responsibilities
   25  26      27    28     29     30
                               June 15……………..       Two Hour Early Dismissal - No School for Head Start and
                                                      PreKindergarten Students - Last Day for Students Grades K-12 -
                                                      End of 4th Marking Period (46 days) and 2nd Semester (90 days) -
                                                      Professional Responsibilities
                               June 16……………..       Last Day for Teachers - Professional Responsibilities
                               June 29……………..       Last Day for 11-Month Employees (including 5 inclement
                                                      weather make-up days)
_________________________________________________________________________________________________
 Calendar Notes
 Appropriate Exercises
 Appropriate exercises will be held in the schools for the following days: Patriot Day; Constitution Day; Washington’s Birthday; Lincoln’s Birthday; Veterans
 Day; Columbus Day; Martin Luther King, Jr.’s Birthday; Arbor Day; Flag Day; and any other day of national significance.
 Extended School Year Services
 Pursuant to Education Article 8-402, Annotated Code of Maryland, extended school year services will be provided to students with disabilities who are
 determined through the Individualized Education Program process to need specific special education services beyond the 180 school days.
 Inclement Weather and Emergency School Closing Alternatives
 Inclement weather and emergency school closing make-up alternatives include five days at the end of the year and other days noted as possible make-up days
 in the calendar. Holidays, spring break, or days added at the end of the school year will be considered if additional days are needed. The number of
 days for students will be a minimum of 180 and the number of days for teachers will be 190 duty days. The number of duty days for 11-month employees is
 212. School buildings and offices may be closed on some professional days to permit all employees to participate. Notice will be given.




                                                                                                                            Exhibit C - 78
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                                   St. Mary's County Public School
                         2016 - 2017 School Year - School Session Schedule
                                                                                                                     Early
School Name                                    Grades   Daily Schedule                PK Schedule                   Dismissal
Benjamin Banneker Elementary School            PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Captain Walter Francis Duke Elementary School PK – 5    8:25 A.M. – 3:10 P.M.         8:25 – 11:10 & 12:25 - 3:10   1:10

Dynard Elementary School                       PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Evergreen Elementary School                    PK – 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

George Washington Carver Elementary School     PK - 5   8:00 A.M. - 2:45 P.M.         8:00 - 10:45 & 12:00 - 2:45   12:45

Green Holly Elementary School                  PK - 5   8:45 A.M. - 3:30 P.M.         8:45 - 11:30 & 12:45 - 3:30   1:30

Greenview Knolls Elementary School             PK - 5   8:00 A.M. - 2:45 P.M.         8:00 - 10:45 & 12:00 - 2:45   12:45

Hollywood Elementary School                    PK - 5   8:30 A.M. - 3:15 P.M.         8:30 - 11:15 & 12:30 - 3:15   1:15

Leonardtown Elementary School                  PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Lettie Marshall Dent Elementary School         PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Lexington Park Elementary School               PK - 5   8:35 A.M. - 3:20 P.M.         8:35 - 11:20 & 12:35 - 3:20   1:20

Mechanicsville Elementary School               PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Oakville Elementary School                     PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 – 3:45    1:45

Park Hall Elementary School                    PK - 5   8:45 A.M. - 3:30 P.M.         8:45 - 11:30 & 12:45 - 3:30   1:30

Piney Point Elementary School                  PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Ridge Elementary School                        PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Town Creek Elementary School                   PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

White Marsh Elementary School                  PK - 5   9:00 A.M. - 3:45 P.M.         9:00 - 11:45 & 1:00 - 3:45    1:45

Chesapeake Public Charter School               K-8      8:15 A.M. - 3:00 P.M.                                       1:00

Esperanza Middle School                        6-8      7:20 A.M. - 2:05 P.M.                                       12:05

Leonardtown Middle School                      6-8      7:20 A.M. - 2:05 P.M.                                       12:05

Margaret Brent Middle School                   6-8      8:00 A.M. - 2:45 P.M.                                       12:45

Spring Ridge Middle School                     6-8      7:20 A.M. - 2:05 P.M.                                       12:05

Chopticon High School                          9 - 12   8:00 A.M. - 2:45 P.M.                                       12:45

Great Mills High School                        9 - 12   8:00 A.M. - 2:45 P.M.                                       12:45

Leonardtown High School                        9 - 12   8:00 A.M. - 2:45 P.M.                                       12:45

Dr. James A. Forrest Career & Technology Center N/A     8:20 - 9:20, 10:10 - 12:13, 12:58 - 2:20

Fairlead Academy                                        8:00 A.M. - 2:45 P.M.                                       12:45

Fairlead Academy II                                     8:00 A.M. - 2:45 P.M.                                       12:45


Updated April 30, 2015




                                                                                                       Exhibit C - 79
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Absences and Excuses ------------------------------------ 2          Expulsion --------------------------------------------------- 24
Admission to First Grade -------------------------------- 1          Fees/Checks/Cash --------------------------------------- 27
Admission to Kindergarten ----------------------------- 1            Field Trips -------------------------------------------------- 27
Admission to Prekindergarten-------------------------- 3             Fire Drills -----------------------------------------------------9
Allergies ------------------------------------------------------ 7   Focus on Cyber Use & Safety (F.O.C.U.S.)
Alternatives to Expulsion -------------------------------24             Initiative -------------------------------------------------- 28
Anaphylaxis ------------------------------------------------- 7      Food Service Program ----------------------------------- 28
Arrivals and Departures --------------------------------26           Gangs ----------------------------------------------------21, 69
Asbestos Management Plans ---------------------------- 9             Grading Policy -------------------------------------------- 29
Audio and Video Devices -------------------------------19            Grading Scale ---------------------------------------------- 29
Bicycles ------------------------------------------------------16    Harassment --------------------------------------------21, 67
Bullying------------------------------------------------- 21, 67     Health Care --------------------------------------------------4
Bus Boarding Procedures -------------------------------18            Head Start ----------------------------------------------------2
Bus - Conduct ----------------------------------------------16       Head Start, Prekindergarten, and Kindergarten
Bus - Rules --------------------------------------------------16        Bus Procedures ----------------------------------------- 18
Canine Drug Scans of School Facilities --------------20              Hearing and Vision Screening --------------------------6
Cell Phones -------------------------------------------- 17, 20      Help – Students Not Seeking -------------------------- 15
Checks and Cash ------------------------------------------27         Help – Students Seeking -------------------------------- 15
Chronic Health Impaired Program -------------------- 3               Home Access Center ------------------------------------- 29
Clothing (Dress) -------------------------------------- 16, 63       Home/Hospital Teaching and Chronic
Code of Conduct ------------------------------------------35            Health Improved Program (CHIP) ------------------3
Communicable Diseases --------------------------------- 5            Homeless Students -----------------------------------------2
Compulsory Attendance Age --------------------------- 1              Homework ------------------------------------------------- 29
Computer Network Usage Standards ---------- 26, 64                   Illness, Student -------------------------------------------5, 7
Conduct, Student------------------------------------- 15, 35         Immunization -----------------------------------------------6
Court - Removal -------------------------------------------15        Intimidation --------------------------------------------21, 67
Coordinated Pupil Services Program ----------------11                In-School Intervention----------------------------------- 24
Counseling --------------------------------------------------32      Inclement Weather --------------------------------------- 10
Crime Solvers, Student ----------------------------------- 8         Instructional Programs ---------------------------------- 29
Custody ------------------------------------------------------- 9    Insurance --------------------------------------------------- 30
Cyber Safety ------------------------------------------------28      Interim Reports ------------------------------------------- 30
Decisions - Student Participation ---------------------16            “Keeping Our Schools Safe” Campaign ------------ 23
Delayed Openings ----------------------------------------10          Lawful Absences--------------------------------------------2
Department of Juvenile Services                                      Lead Testing -------------------------------------------------6
  Involvement with Students --------------------------15             Library/Media Center ---------------------------------- 30
Directory Information------------------------------------13          Loss of School Bus Riding Privileges ---------------- 25
Discrimination ---------------------------------------- 12, 14       Make-Up Work-------------------------------------------- 30
Distribution of Student Literature --------------------23            McKinney-Vento Homeless Assistance Act ---------2
Dress----------------------------------------------------- 16, 63    Medical Procedures ----------------------------------------8
Driver Safety -----------------------------------------------33      Meetings – Student --------------------------------------- 14
Drug-Free Zones ------------------------------------------20         Minor Students ----------------------------------------------1
Due Process -------------------------------------------------14      Non-custodial Parents' Rights to Record
Early Dismissal – School/Weather -------------------10                  Information ---------------------------------------------- 13
Early Dismissal – Student -------------------------------- 2         Over-the-Counter Medications -------------------------4
Electronic Devices------------------------------------ 17, 20        Parent/Legal Guardian/Teacher
Eligibility for High School Activities -----------------27              Conferences --------------------------------------------- 31
Emergency Preparedness -------------------------------- 9            Parties ------------------------------------------------------- 31
Emergency Procedures ----------------------------------- 5           Partners for Success -------------------------------------- 11
Emergency Transportation Procedures -------------19                  Permission for Withdrawal ---------------------------- 34
Excessive Absences ---------------------------------------- 2        Permission to Leave School ------------------------------2


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Personal Property -----------------------------------------31       Student Absences and Excuses--------------------------2
Personal Safety---------------------------------------------14      Student Bus Boarding Procedures ------------------- 18
Pest Management ------------------------------------------ 5        Student Bus Loading Procedures --------------------- 18
Petitions -----------------------------------------------------14   Student Bus Unloading Procedures------------------ 18
Pets/Animals ----------------------------------------------31       Student Dismissal Precautions --------------------------2
Phone Messages/Email ---------------------------------31            Student Health Information -----------------------------7
Photographing of Students -----------------------------13           Student On-Board Procedures ------------------------ 18
Physical Examination ------------------------------------- 6        Student Participation in Decisions ------------------- 16
Possession of a Weapon ---------------------------------22          Student Pregnancy -----------------------------------------8
Prekindergarten Attendance ---------------------------- 3           Student Records------------------------------------------- 13
Prekindergarten Programs ------------------------------ 3           Student Responsibility to be Informed -------------- 19
Promotion, Student ---------------------------------------31        Student Readmission After a Long-Term
Pupil Services Team --------------------------------------11          Suspension, Extended Suspension,
Registration in Attendance Areas ---------------------- 1             Expulsion ------------------------------------------------ 25
Registration Procedures ---------------------------------- 1        Student Rights --------------------------------------------- 14
Religion ------------------------------------------------------14   Student Rules for Transportation--------------------- 16
Report Cards -----------------------------------------------31      Student Safety -----------------------------------------------8
Responsibilities – Student Respect--------------------15            Student Searches ------------------------------------------ 19
Restitution – Lost, Damaged, or                                     Student Solicitations ------------------------------------- 16
  Vandalized ------------------------------------- 16, 30, 33       Student Suspension and Expulsion including
Retention of Records -------------------------------------13          Students with 504 Plan or IEP ---------------------- 24
Retention, Student ----------------------------------------31       Student Withdrawal ------------------------------------- 34
Right to Assemble-----------------------------------------14        Students After School ----------------------------------- 26
Right to Due Process ------------------------------------14         Substance Use Screening ------------------------------- 32
Right to Petition -------------------------------------------14     Sun Safety ----------------------------------------------------7
Right to Personal Safety ---------------------------------14        Supervision --------------------------------------------------8
Rights of Students Not Seeking Help ----------------15              Supplies ----------------------------------------------------- 33
Rights of Students Seeking Help ----------------------15            Suspected Child Abuse/Neglect -----------------------9
Rights to Access Student Record                                     Suspension ------------------------------------------------- 24
  Information ----------------------------------------------13      Tardiness -----------------------------------------------------2
SBIRT (Screening, Brief Intervention, and                           Textbooks --------------------------------------------------- 33
  Referral to Treatment) ---------------------------------32        Title IX ------------------------------------------------------- 11
School Admissions----------------------------------------- 1        Tobacco Free School Environment ------------------- 23
School Counseling Program ----------------------------32            Transportation Rules ------------------------------------ 16
School Day Schedule -------------------------------- 26, 73         Types of Student Records ------------------------------ 13
School Disciplinary Plan --------------------------------24         Use of Students in Public Information
School Property – Student Responsibility ----------16                 Programs ---------------------------------------------13, 62
School Visits ------------------------------------------------33    Vehicle Use - Student ------------------------------------ 33
Searches – Student, Lockers, School ------------------19            Video and Audio Devices ------------------------------ 19
Section 504 --------------------------------------------------11    Videotaping of Students -------------------------------- 13
Security Cameras------------------------------------------19        Visitors ------------------------------------------------------ 33
Sexual Assault ---------------------------------------------22      Volunteers -------------------------------------------------- 34
Sexual Harassment ---------------------------------------22         Weapons ---------------------------------------------------- 22
Solicitations -------------------------------------------------16   Withdrawal from School-------------------------------- 34
Special Education -----------------------------------------11       Young Drivers Safety Program ----------------------- 33
Special Needs Transportation--------------------------19




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     Please direct all inquiries about this document to the Department of Student Services,
St. Mary's County Public Schools, 23160 Moakley Street, Suite 104, Leonardtown, Maryland
20650, 301-475-5511, extension 32150.



If you need help, call
                             Maryland Youth Crisis Hotline
                                    1-800-422-0009
You are able to call 24 hours a day and speak confidentially with a counselor about
your concerns and problems.




                                   Non-Discrimination Statement
The St. Mary’s County Public School System does not discriminate on the basis of race, color, sex,
age, marital status, sexual orientation, national origin, religion or disability in matters affecting
employment or in providing access to programs. Inquiries related to this policy may be addressed to
the Assistant Superintendent of Fiscal Services and Human Resources, St. Mary’s County Public
Schools, 23160 Moakley Street, Suite 106, Leonardtown, Maryland 20650, (301) 475-5511, ext. 32247.




                                                                                 Exhibit C - 82
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